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               Exhibit C
Case 2:23-cv-00334-JRG Document 1-3US007382600B2
                                     Filed 07/14/23 Page 2 of 38 PageID #: 37

                                                                                            USOO7382600B2


(12)   United States Patent                                          (10)Patent No.:     US 753825600 B2
       Paul et al.                                                   (45)Date of Patent:      *Jnn. 3, 2008

(54)    CHARGE STORAGE DEVICE                                     (52)    U.S. Cl                       361/502; 361/503; 361/504;
                                                                                                     361/508; 361/511; 361/512
(75)    Inventors: George Lange Paul, Chatswood West              (58)    Field of Classification Search         361/502-504,
                   (AU); Rory Albert James Pynenbur응,                             361/508-512, 516-519, 523-534; 29/25.01,
                   Hillsboro, OR (US); Peter John                                                                      29/25.03
                   Mahon, Bentleigh East (AU); Anthony                    See applieation file for complete search history.
                   Michael Vassallo, Hornsby Heights
                                                                  (56)                       References Cited
                   (AU); Philip Andrew Jones, Hornsby
                   (AU); Sarkis Keshishian, Ermington                                U.S. PATENT DOCUMENTS
                   (AU); Anthony Gaetano Pandolfo,                       4,424,262       A    1/1984 von Alpen et al         429/8
                   Hurstville Grove (AU)                                 4,731,705       A    3/1988 Velasco et al        361/433
                                                                         5,426,561       A    6/1995 Yen et al            361/502
(73)    Assignee: CAP-XX Limited, Dee Why, NSW                           5,455,999       A   10/1995 Weiss et al          29/623.1
                  (AU)                                                   5,532,083       A    7/1996 McCullough
                                                                         5,646,815       A    7/1997 Owens et al.
(* )    Notiee:     Subjeet to any disclaimer, the term of this          5,905,629       A    5/1999 Alford               361/502
                    patent is extended or adjusted under 35              5,926,361       A    7/1999 Alford               361/502
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                                                                         6,449,139       Bl* 9/2002 Farahmandi et al       361/502
                    This patent is suhjeet to a terminal dis­            6,456,484       Bl* 9/2002 Matsuoka et al         361/511
                    claimer.                                             6,510,043       Bl* 1/2003 Shiue et al            361/502
                                                                         6,697,249       B2   2/2004 Maletin et al         361/502
(21)    Appl. No.: 11/228,294                                            6,762,926       Bl   7/2004 Shieu et al           361/502
                                                                         6,920,034       B2* 7/2005 Paul et al             361/502
(22)    Filed:      Sep. 19, 2005
                                                                               FOREIGN PATENT DOCUMENTS
(65)                   Prior Publication Data                     EP                 〇
                                                                                  054 989               6/1982
                                                                  EP                 〇
                                                                                  397 248              11/1990
        US 2007/0195486 Al          Aug. 23, 2007                 EP                 〇
                                                                                  449 145              10/1991
                                                                  EP                 〇
                                                                                  930 627               7/1999
                 R이ated U.S. Application Data                     EP                 〇
                                                                                  938 109               8/1999
                                                                  WO           WO98/15962               4/1998
(63)    Continuation of application No. 11/050,762, filed on
                                                                  WO           WO99/08298               2/1999
        Feb. 7, 2005, now Pat. No. 7,009,833, which is a
        continuation of application No. 10/635,775, filed on                             OTHER PUBEICATIONS
        Aug. 7, 2003, now Pat. No. 6,920,034, which is a
                                                                  Derwent Abstraet Accession No. 95-305668/40, JP 7-201681 A
        continuation of application No. 09/763,423, filed as
                                                                  (Hita나li, Ltd.) Aug. 4, 1995.
        application No. PCT/AU99/01081 on Dec. 6, 1999,           Derwent Abstraet Aeeession No. 96-244423/25, JP 8-097091 A
        now Pat. No. 6,631,072.                                   (Matsushita Denki Sangyo KK) Apr. 12, 1996.
                                                                  Miller, John R., Pulse Power performance of Electrochemical
(60)    Provisional application No. 60/110,930, filed on Dec.
                                                                  Capacitors: Technical Status of Present Commereial Devices, The
        5, 1998.                                                  8 International Seminar on Double Layer Capacitors and Similar
                                                                  Energy Storage Deviees, vol. 8, pp. 1-10, Dec. 1998.
(51)   Int. CL
       HOIG 9/00              (2006.01)                           * cited by examiner
Case 2:23-cv-00334-JRG Document 1-3 Filed 07/14/23 Page 3 of 38 PageID #: 38


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                                                          Page 2


Primary Examiner—Nguyen T. Ha                                  manufacturing a charge storage deviee, the method com­
                             —& Kenyon LLP
(74) Attorney, Agent, or Firm—                                 prising the steps of: providing a first electrode; disposing a
                                                               second electrode in opposition to and spaced apart from the
(57)                   ABSTRACT                                first electrode; disposing a porous separator between the
                                                               eleetrodes; eontaining within a sealed paekage the elee­
A eharge storage deviee eomprising: a first electrode; a
                                                               trodes, the separator and an electrolyte, wherein the elee­
second electrode being opposed to and spaced apart from the
                                                               trodes are immersed in the eleetrolyte; and electrically
first electrode; a porous separator disposed between the
                                                               connecting a first terminal and a second terminal to the first
eleetrodes; a sealed paekage for containing the eleetrodes,
the separator and an electrolyte in whieh the eleetrodes are   electrode and the second eleetrode respeetively sueh that the
immersed; and a first terminal and a second terminal being     terminals extending from the package to allow external
eleetrieally connected to the first electrode and the second   electrical cormection to the respective electrodes, wherein
eleetrode respeetively and both extending from the paekage     the gravimetrie FOM of the deviee is greater than about 2.1
to allow external electrical connect to the respective elec­   Watts/gram.
trodes, wherein the gravimetrie FOM of the deviee is greater
than about 2.1 Watts/gram. Also described is a method of                     18 Claims, 19 Drawing Sheets
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           8


                                    Figure 1
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           FIG. 11                      FIG. 10
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      1.00E-05       1.00E-04            1.00E-03          1.00E-02       1.00E-01         1.00E+00          1.00E+01




                                                                                                                        US 733
                                                    Response Time (sec)




                                                                                                                             お82
                                                                                                                               〇
                                                            Figure 12




                                                                                                                                〇 B2
Case 2:23-cv-00334-JRG Document 1-3 Filed 07/14/23 Page 12 of 38 PageID #: 47




                            Volumetric FOI내




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                                                                                 U S 793829600 B 2
                            Response Time (sec)


                                 Figure 13
             Case 2:23-cv-00334-JRG Document 1-3 Filed 07/14/23 Page 13 of 38 PageID #: 48




                                                    Power max. Gravimetric




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       1.00E-08   1.00E-0S      1.00E-04             1.00E-03           1.00E-02            1.00E-01         1.00E+00         1.00E+01




                                                                                                                                         US 733
                                                       Time Constant (sec)




                                                                                                                                              お82
                                                                                                                                                〇
                                                            Figure 14




                                                                                                                                                 〇 B2
                 Case 2:23-cv-00334-JRG Document 1-3 Filed 07/14/23 Page 14 of 38 PageID #: 49




                                          Power max. Volume버c

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          1.00E-06    1.00E-05      1.00E-04        1.00E-03         1.00E-02   1.0OE0   1.00E+00




                                                                                                    us
                                               Time Constant (sec)




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                                                                                                        お
                                                                                                        〇
                                                    Figure 15




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                                                                                                    B2
Case 2:23-cv-00334-JRG Document 1-3 Filed 07/14/23 Page 15 of 38 PageID #: 50




                                                                                 US
                                                                                 Paf
                                                                                               을
    thickness    time const power (WZg) power (W/cc) resp time FOMgrav FOMvoi
    HF-3
             1 0.00000544        48.64      128.52   0.0000    15.48   40.91
             2 0.00001088       교密          125^     0.0001    15.38   39.94
                                47J8        ~Ti7J    0.0002




                                                                                  Jun-
                 0.0000272                                     15.08   37.27
            10 0.0000544        彳豌                   0.0003    14.61   33.55




                                                                                  3^
            20 ~ 0.0001088      43J7        ~8713    0.0007    13.74   27.98




                                                                                  2008
            50    0.000272      36^         ~58^     0.0017    11.61   18.84
           100    0.000544      ~29J        ■37J4    0.0034     9.33   11.98
           200 ■~ 0.001088      1Ö?9        ■yr&B    0.0068     6.65    8.99
           5001 0.00272         Tk24        ~9J6     0.0171     3,58    3.11




                                                                                  Sheef 12 o f 19
   cap-XXHIPo
          1 ~ 0.001653          98.31       261.02   0.0104    31.29   83.09
          2~~ 0.003306          97.28       254.81   0.0208    30.98   81.11
          S~ 0.008265          ■§瓦荷         237.82   0.0519    30.00   75.70
         10 ~ 0.01653                       214.04   0.1039    28.53   68.13
         20 ~ 0.03306          ~Bte         T78J7    0.2077    25.97   58.90
         50 ~ 0.08265          下顽           Tieji    0.5193    20.48   37.85
        100        O.j653      ■花品          ~78X4    1.0388    15.14   24.33
        200 ~      0.3306      *3126        ~4^59    2.0772     9.95   14.19
        500 ~                  153«




                                                                                US 733
                   0.8265                    19.82   5.1931     4.91    8.31




                                                                                     お82
                                            Figure 16




                                                                                       〇〇 B2
                   Case 2:23-cv-00334-JRG Document 1-3 Filed 07/14/23 Page 16 of 38 PageID #: 51




                                                                                                                                                            US
                 Capacltanc Retlstanc VoltagB Mass V히umft        Sl2â         Raapâneo     FO애      FOM Vol       Time                Pvol




                                                                                                                                                            Paf
                                                                                                                         Pgrav max             ThlGkne

                                                                                                                                                                           을
                     •           •                                                Time    mass                  constant              max         as
                     F      mlWohms      V     0     CC     mmxmm x                sec    kW/kg      W/cc         sac      hW/kfl     W/co        um
                                                               mm
   Prfor Art 1                           2.5    4.4    3-01   f1.2x30.6 e.30E-01             2.0d        3.02
   Prior Art 2                           2.3   34.0 30,56 33.6x17.1x63 e.30E+00              0.96        1.10
   Prior Art 3                          16.0 4800.0 1440.00   17x17x6 8.70E-0조               0.96        3.20

 1HF-r              0,00038    110.43   초点      7.3    3.52     110X100X       1.1SE・04      0.96        2.00    3.98E96      1.93      4.02         12
                                                                       0.32




                                                                                                                                                            Jun-
 2HF9               0.00074     e&fiâ   2.6     7,6    3.63     IIOxIOOx       2.S0É-04      〇.89        2.04    &44E95       교・ 39     4.95         24
                                                                       0.32
 3HM                0.004SO     14.60   2<6     &8     4.18     IIOxIOOx       3.4<旧04       5.01        8・20    6.53£十6     18.57     2ÖJ8          12




                                                                                                                                                             3^
                                                                       0^8




                                                                                                                                                            2008
 4 HF네              0.00112    76.03    2.S     7,9    3.85     IIOxIOOx      3.70E-04       0.99        2.03    8,40收        2.64      5.41         38
                                                                       0.32
 5 HF-5             0.00478    22.ee    2.5     6.8    3.62     110 X 100 X   fi.26E4        3.44        e.6e    1.0BE-04    10.10     19,S7         12
                                                                       0.32
 β HF-13            0.00548    g5       2.5     7.0    3.52     IIOxIOOx      S.71E.04       3.33        6.66    t4ÖÉ-04      a. 14    1Q.2B         12
                                                                       0.32
 7 HF너 B            0.00051   358.60    2.6     7J     3.63     11〇X 100 X    a.OOE-04       0.18       0.40     1.83E-04     0.57      1.20         12




                                                                                                                                                            She 13 of 19
 fl HF너 7           0.00130    190副     2.5     7.8    3.86
                                                                       0.32
                                                                IIOxIOOx      1.25E-03       0.34       0.68    2.48E-04      t〇5       2.13         36            흐
                                                                       0.32
d HF-10             0.03520    34.10    2.5     7.2    3.41     IIOxIOOx      6.e7E-03       1.97       4.13     150E-03      6.40     13.44         12
                                                                       032
10HR2               0.03200    70.00    26      6.7    3.08     IIOxIOOx      1.40E-02       k〇3        1.48    2・24E-03      3.93     6.84          12
                                                                       0,39
11 ca{hXX           0.33000    17.00    2.6    12.0    0.01     85 x 53 x2    3.70E-02      1J7         1.99    6.81E-03     7,40      9.8S          12
12 cap-             0.64800    1B40     5.0    12.2    6.80     40X35X7       7.83E-02      5.83        7.26    B.02E-O3    28.30     3524            6
   XXHiPo
136|aXX,10         10.40000     450     2.6    17.0 12.60       50x50x5   tSOE-OI           3.60        4.90    4.08£-〇2    2042      27.78          12
14 <叩双30           2BJQQ00      히 】。    26     25.0 20：〇。      即X 50x10  4<e〇E-O1           2.71        271                 12.50     12.50          36
16网A              272.60000     1.00    25    29M 356.30      190x110x18 1.00E+00           2,20        1,83    2.73터）1      6.30      4.40          36




                                                                                                                                                          US 733
   XX,250
10 DC-3            17J4000     11.30    2.S    7.0    15.13   91x06x1.76 1.G2E-H）〇          3.28        1.61                19.73      0.14 eoZlOO
17 Wed             14^8000     14.00    2毒     8.2    16.13   Six 95x1.76 1,B2E-4-OO        2.45        1.33    2.〇eE-01    13.81      7.38 30/70




                                                                                                                                                               お82
                                                                                                                                                                 〇
                                                                 FIGURE 17




                                                                                                                                                                  〇 B2
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                              FIG. 19
                   Case 2:23-cv-00334-JRG Document 1-3 Filed 07/14/23 Page 18 of 38 PageID #: 53




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                                                                                                                                                             으
        Capaoita Reslatan     V히tage      Mass       V히time    Size     Respons     FOM      FO새 Vol    Time      Perav     Pvo! max Thldcnes
          nee        ce                                                   eTIme    mass                constant    max                   8
           F     milliohm       V          g           cc     mmx            seo   kW/kg      WZee       sec      kW/kg       W/cc      tun
                      β                                       mmx




                                                                                                                                                Jun・ 3^〇〇
                                                              mm
HF너      0.03600      87.00         2.5        5.6      3.86 110x100    1J4E^2        0.80       1.14 3.05E-03       3.19       4.54       12
                                                                x〇.3e
                                                                                                                                                     2
HF4      0.00800      14.40         25         6.4      4.18 110x100    6jeE-04      4.97       7.63 1.15E-04       16.90      25.96       12
                                                                xO.38                                                                                8
HF-8     0.00037     112.24         2.S        7.1      3.52 110x100    1.35E-04     0J7         1.35 4.15E-0S       1,98       3.96       12
                                                                xO.32
HF녀 〇    o.ooon       65.78         2.5        7J       3J3 110X100     2.50E-04     0.68        1,44 6J0E-05       2.38        S.02       24
                                                                xO.32




                                                                                                                                                shee- 15 o f 19
HF-12    0.00118      75.52         2.5        7.8      3.85 110x100    3.85E4)4     0.71       1.44 8・91E9S        2.65        537        36
                                                                xO.32
HF-e     0.00478      22.68         2.5        7.7      3.S2 110x100    5.26E-04     2.18       4.71 1.09E-04       8.98       19.57       12
                                                                xO.32
HF-14    0.00574      28.08         2.5        7.1      3.62 110x100    S.8eE-04     2.33       4.71 1.61E-04       7.61       15.62       12
                                                                xO.32
HF-15    0.00054     376.60         2.S        8.1      3.63 110x100    d・09E・04     0.12       026 2.03E-04        0.52        1.14      12
                                                                xO.32
HF-19    0.03400      3810          2.5        7.2      3.41 110x100    7.14申)3      1,26       2.65 1.30E・03       5.71       12.00      12
                                                                xO.32




                                                                                                                                                 us
                                                                                                                                                 793829600 B 2
                                                                 FIGURE 2Q
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                                    FIGURE 21
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                                    FIGURE 25
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                                                     US 7,382,600 B2
                                                                                                      2
             CHARGE STORAGE DEVICE                                      provide a greater voltage window, which improves the
                                                                        available energy density, they also have had high internal
   This is a continuation of application Ser. No. 11/050,762            resistances whieh make them unsuitable the high power
filed 7 Feb. 2005 now U.S. Pat. No. 7,009,833, which is a               applications.
continuation of application Ser. No. 10/635,775 filed 7 Aug.       5
2003, U.S. Pat. No. 6,920,034 B2, which is a continuation of                        SUMMARY OF THE INVENTION
application Ser. No. 09/763,423 filed 24 Aug. 2001, U.S.
Pat. No. 6,631,072, which is a 371 national phase appliea-                 It is an object of the present invention, at least in the
tion of PCT/AU99/01081 filed 6 Dee. 1999, whieh elaims                  preferred embodiments, to overcome or substantially ame­
the benefit of Provisional Application No. 60/110,930 filed        10   liorate one or more of the disadvantages of the prior art or
5 Dee. 1998, the eontents of which are incorporated herein              at least to provide a useful alternative.
by referenee.                                                              Aeeording to a first aspect of the invention there is
                                                                        provided a charge storage deviee ineluding:
         BACKGROUND OF THE INVENTION                                       a first electrode;
                                                                   15      a second electrode being opposed to and spaced apart
   The present invention relates to a charge storage deviee             from the first electrode;
and a method of manufacture thereof.                                       a porous separator disposed between the eleetrodes;
   The invention has been developed primarily for use with                 a sealed paekage for containing the electrodes, the sepa­
the eleetroehemieal charge storage deviees sueh as super­               rator and an electrolyte in whieh the eleetrodes are
capacitors and will be deseribed hereinafter with reference        20   immersed; and
to that application. ft will be appreciated that supercapacitors           a first terminal and a second terminal being eleetrieally
are designated by terms sueh as ultra capacitors, electric              connected to the first electrode and the second eleetrode
double layer capacitors and electrochemical capacitors,                 respeetively and both extending from the paekage to allow
amongst others, all of which are included within the term               external electrical connection to the respective electrodes,
“supercapacitor" as used within this specification.                25   wherein the gravimetrie FOM of the deviee is greater than
   It is known to mass produce supercapacitors that have                about 2.1 Watts/gram.
speeifie operational characteristics that fall within well                 Preferably, the gravimetrie FOM of the deviee is greater
defined ranges. Although mass production is advantageous                than about 2.5 Watts/gram. More preferably, the gravimetrie
from a cost point of view, there is an inherent laek of                 FOM of the deviee is greater than about 3 Watts/gram. Even
flexibility. That is, if the desired eharaeteristies of a super­   30   more preferably, the gravimetrie FOM of the deviee is
capacitor for a particular application fall outside the eom-            greater than about 3.5 Watts/gram. In some embodiments,
monly available ranges a compromise solution is required.               the gravimetrie FOM of the deviee is greater than about 5
An alternative is to produce the desired supercapacitor as a            Watts/gram.
one off or small rim. The eosts of this latter alternative are             More preferably, the first electrode and the seeond elee­
often prohibitive and, as such, rarely pursued.                    35   trode form a capacitive cell and the deviee ineludes a
   Known supercapacitors generally find application in                  plurality of the cells electrically cormected in parallel and
power supplies sueh as uninterruptible power supplies for               disposed within the paekage. In other embodiments, how­
computers or backup power supplies for volatile memory.                 ever, the eells are eormeeted in series. In still further
Accordingly, it has been eommon to optimise these super-                embodiments a combination of series and parallel eonneets
eapaeitors for high energy density, low self-discharge rates,      40   are utilised. It wifi be appreeiated that series eonneetions
and low cost.                                                           allow the eells to be applied to higher voltage applieations,
   More reeently it has been thought that supercapacitors are           while parallel eonneetions allow the eells to provide a higher
theoretieally applicable to high power pulsed applieations.             combined eapaeitanee for the deviee. The ease at which
Indeed, some attempts have been made to adapt such super­               these different eonneetions are accommodated by the inven­
capacitors as short term current sources or sinks. Examples        45   tion means that preferred embodiments are applieable to a
of such applications include internal combustion engine                 wide variety of tasks ranging from high power systems to
starting, load power leveling or hybrid vehicles and a variety          low power systems.
of pulsed eommunieation systems. However, the sueeess of                   In a preferred form, the maximum operating voltage of the
these supereapaeitors has been limited by faetors such as a             or each capacitive cell is less than about 4 Volts. More
high equivalent series resistanee, among others. For               50   preferably, the maximum operating voltage of the or each
example, some prior art double layer capacitors make use of             capacitive cell is less than about 3.5 Volts. Even more
button cell or spiral wound technology. These, in turn, fall            preferably, the maximum operating voltage of the or each
generally in one of two groups, the first group being eon-              capacitive cell is less than about 3 Volts
eerned with high power applications and the second with                    Preferably, the first electrode and the seeond electrode
low power applications. For the second group, but not the          55   inelude a first carbon coating and a second carbon coating
first, it has been possible to obtain high energy densities.            respectively wherein the surface area of carbon used in the
   The first and second groups are broadly defined by the               eoatings is greater than 20 m^/gram.
type of electrolyte used, those being aqueous and non­                     According to a second aspect of the invention there is
aqueous respectively. This is predominantly due to the lower            provided a method of manufacturing a charge storage
resistance inherently offered by aqueous electrolytes whieh        60   device, the method including the steps of:
makes it better suited to high power, and hence high eurrent,              providing a first electrode;
applieations. That is, the low resistance results in lower Fr              disposing a second electrode in opposition to and spaced
losses for aqueous electrolytes. The trade off, however, is             apart from the first electrode;
that for these aqueous electrolytes the voltage that can be                disposing a porous separator between the eleetrodes;
applied across a capacitive cell is extremely limited.             65      eontaining within a sealed paekage the eleetrodes, the
   The second group of prior art double layer capacitors                separator and an electrolyte, wherein the eleetrodes are
suffers the eonverse disadvantages. That is, while they                 immersed in the eleetrolyte; and
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   electrically connecting a first terminal and a second              preferably, the maximum operating voltage of the or each
terminal to the first electrode and the second electrode              capacitive cell is less than about 3.5 Volts. Even more
respectively such that the terminals extending from the               preferably, the maximum operating voltage of the or each
package to allow external electrical connection to the                capacitive cell is less than about 3 Volts
respective electrodes, wherein the gravimetrie FOM of the        5       Preferably, the first electrode and the seeond electrode
deviee is greater than ahont 2.1 Watts.                               inelude a first carbon coating and a second carbon coating
   Preferably, the gravimetrie FOM of the deviee is greater           respectively where the surface area of carbon used in the
than ahont 2.5 Watts/gram. More preferably, the gravimetrie           eoatings is greater than 20 m^/gram.
FOM of the deviee is greater than ahont 3 Watts/gram. Even               According to a fourth aspect of the invention there is
more preferably, the gravimetrie FOM of the deviee is            10   provided a method of manufacturing a charge storage
greater than ahont 3.5 Watts/gram. In some embodiments,               device, the method including the steps of:
the gravimetrie FOM of the deviee is greater than ahont 5                providing a first electrode;
Watts/gram.
                                                                         disposing a second electrode in opposition to and spaced
   More preferably, the first electrode and the seeond elee-
                                                                      apart from the first electrode;
trode form a capacitive cell and the deviee includes a           15
plurality of the cells electrically connected in parallel and            disposing a porous separator between the eleetrodes;
disposed within the package. In other embodiments, how­                  eontaining within a sealed paekage the eleetrodes, the
ever, the cells are connected in series. In still further             separator and an electrolyte, wherein the eleetrodes are
embodiments a combination of series and parallel eonneets             immersed in the eleetrolyte; and
are utilised.                                                    20      electrically connecting a first terminal and a second
   In a preferred form, the maximum operating voltage of the          terminal to the first electrode and the seeond electrode
or each capacitive cell is less than about 4 Volts. More              respeetively sueh that the terminals extending from the
preferably, the maximum operating voltage of the or each              paekage to allow external electrical connection to the
capacitive cell is less than about 3.5 Volts. Even more               respective electrodes, wherein the volumetrie FOM of the
preferably, the maximum operating voltage of the or each         25   deviee is greater than about 3.2 Watts/cm^.
capacitive cell is less than about 3 Volts                               Preferably, the volumetrie FOM of the deviee is greater
   Preferably, the first electrode and the seeond electrode           than about 4 Watts/cm^. More preferably, the volumetrie
inelude a first carbon coating and a second carbon coating            FOM of the deviee is greater than about 5 Watts/cm^. Even
respectively wherein the surface area of carbon used in the           more preferably, the volumetrie FOM of the deviee is greater
eoatings is greater than 20 m^/gram.                             30   than about 7 Watts/cm^. In some embodiments, the volu­
   According to a third aspect of the invention there is              metrie FOM of the deviee is greater than about 8 Watts/cm^.
provided a charge storage deviee ineluding:                              According to a fifth aspect of the invention there is
   a first electrode;                                                 provided a charge storage deviee ineluding:
   a second electrode being opposed to and spaced apart                  a first electrode having a first conductive substrate;
from the first electrode;                                        35
                                                                         a first carbon layer supported on the first substrate and
   a porous separator disposed between the eleetrodes;
                                                                      being formed from a carbon having a surface area greater
   a sealed paekage for containing the electrodes, the sepa­
                                                                      than 400 m^/gram;
rator and an electrolyte in whieh the eleetrodes are
immersed; and                                                            a second electrode having a second conductive substrate;
   a first terminal and a second terminal being eleetrieally     40      a second carbon layer supported on the seeond substrate
connected to the first electrode and the seeond electrode             and being formed from a carbon having a surface area
respeetively and both extending from the paekage to allow             greater than 400 m^/gram;
external electrical connection to the respective electrodes,             a porous separator disposed between the eleetrodes;
wherein the volumetrie FOM of the deviee is greater than                 a sealed paekage for containing the electrodes, the sepa­
about 3.2 Watts/cm^.                                             45   rator and an organic electrolyte in whieh the eleetrodes are
   Preferably, the volumetrie FOM of the deviee is greater            immersed, wherein the first and second layers are opposed
than about 4 Watts/cm^. More preferably, the volumetrie               and spaced apart; and
FOM of the deviee is greater than about 5 Watts/cm^. Even                a first terminal and a second terminal being eleetrieally
more preferably, the volumetrie FOM of the deviee is greater          connected to the first electrode and the seeond electrode
than about 7 Watts/cm^. In some embodiments, the volu­           50   respeetively and both extending from the paekage to allow
metrie FOM of the deviee is greater than about 8 Watts/cm^.           external electrical connection to the respective electrodes,
   More preferably, the first electrode and the seeond elec­          wherein the volumetrie FOM of the deviee is greater than
trode form a capacitive cell and the device includes a                about 1.1 Watts/cm^.
plurality of the eells eleetrieally connected in parallel and            According to a sixth aspect of the invention there is
disposed within the package. In other embodiments, how­          55
                                                                      provided a method of manufacturing a charge storage
ever, the cells are connected in series. In still further             device, the method including the steps of:
embodiments a combination of series and parallel eonneets
                                                                         providing a first electrode having a first conductive sub­
are utilised. It will be appreeiated that series eonneetions
                                                                      strate;
allow the eells to be applied to higher voltage applieations,
while parallel eonneetions allow the eells to provide a higher   60      supporting a first carbon layer on the first substrate, the
combined eapaeitanee for the deviee. The ease at which                first layer being formed from a carbon having a surface area
these different eonneetions are accommodated by the inven­            greater than 400 m^/gram;
tion means that preferred embodiments are applieable to a                providing a second electrode having a second conductive
wide variety of tasks ranging from high power systems to              substrate;
low power systems.                                               65      supporting a second carbon layer on the seeond substrate,
   In a preferred form, the maximum operating voltage of the          the seeond layer being formed from a carbon having a
or each capacitive cell is less than about 4 Volts. More              surface area greater than 400 m^/gram;
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   disposing a porous separator between the eleetrodes;               abont 17 Watts/gram. Even more preferably, the gravimetrie
   eontaining the eleetrodes, the separator and an organic            power maximum of the deviee is greater than about 20
electrolyte in whieh the eleetrodes are immersed in a sealed          Watts/gram. lu some embodiments the gravimetrie power
paekage, wherein the first and second layers are opposed and          maximum of the deviee is greater than about 26 Watts/gram.
spaced apart; and                                                5       According to a tenth aspeet of the invention there is
   electrically connecting a first terminal and a second              provided a method of manufacturing a charge storage
terminal to the first electrode and the second eleetrode              device, the method including the steps of:
respeetively sueh that the terminals both extend from the                providing a first electrode;
paekage to allow external electrical connection to the                   disposing a second electrode in opposition to and spaced
respective eleetrodes, and wherein the volumetrie FOM of         10   apart from the first electrode;
the deviee is greater than abont 1.1 Watts/cm^.                          disposing a porous separator between the eleetrodes;
   According to a seventh aspeet of the invention there is               eontaining within a scaled package the electrodes, the
provided a charge storage deviee ineluding:                           separator and an electrolyte, wherein the eleetrodes are
   a first electrode;                                                 immersed in the eleetrolyte; and
   a second electrode being opposed to and spaced apart          15      electrically connecting a first terminal and a second
from the first electrode;                                             terminal to the first electrode and the second eleetrode
   a porous separator disposed between the eleetrodes;                respeetively sueh that the terminals extending from the
   a sealed paekage for containing the electrodes, the sepa­          package to allow external electrical cormection to the
rator and an electrolyte in whieh the eleetrodes are                  respective electrodes, wherein the gravimetrie power maxi­
immersed; and                                                    20   mum of the deviee is greater than about 12.5 Watts/gram.
   a first terminal and a second terminal being eleetrieally             Preferably, the gravimetrie power maximum of the deviee
connected to the first electrode and the second eleetrode             is greater than about 15 Watts/gram. More preferably, the
respeetively and both extending from the paekage to allow             gravimetrie power maximum of the deviee is greater than
external electrical connection to the respective electrodes,          about 17 Watts/gram. Even more preferably, the gravimetrie
wherein the response time （T〇） of the deviee is less than        25   power maximum of the deviee is greater than about 20
abont 0.09 seconds.                                                   Watts/gram. In some embodiments the gravimetrie power
   Preferably, T〇 is less than abont lO"^ seconds. More               maximum of the deviee is greater than about 26 Watts/gram.
preferably, T〇 is less than abont 10~^ seconds. Even more                According to an eleventh aspeet of the invention there is
preferably, T〇 is less than abont 10一seconds. In some                 provided a charge storage deviee ineluding:
embodiments, T〇 is less than abont 5xl〇~^ seconds.               30      a first electrode;
   According to an eighth aspeet of the invention there is               a second electrode being opposed to and spaced apart
provided a method of manufacturing a charge storage                   from the first electrode;
device, the method including the steps of:                               a porous separator disposed between the eleetrodes;
   providing a first electrode;                                          a sealed paekage for containing the electrodes, the sepa­
   providing a second electrode being opposed to and spaced      35   rator and an electrolyte in whieh the eleetrodes immersed;
apart from the first electrode;                                       and
   disposing a porous separator between the eleetrodes;                  a first terminal and a second terminal being eleetrieally
   eontaining the eleetrodes, the separator and an electrolyte        connected to the first electrode and the second eleetrode
in whieh the eleetrodes are immersed a sealed paekage; and            respeetively and both extending from the paekage to allow
   electrically connecting a first terminal and a second         40   external electrical connection to the respective electrodes,
terminal to the first electrode and the second eleetrode              wherein the volumetrie power maximum of the deviee is
respeetively sueh that the terminals extending from the               greater than about 35 Watts/cm°.
package to allow external electrical connection to the                   According to a twelfth aspeet of the invention there is
respective electrodes, wherein the response time （T〇） of the          provided a method of manufacturing a charge storage
deviee is less than abont 0.09 seconds.                          45   device, the method including the steps of:
   Preferably, T〇 is less than abont 10 ~ seconds. More                  providing a first electrode;
preferably, T〇 is less than abont 10~^ seconds. Even more                disposing a second electrode in opposition to and spaced
preferably, T〇 is less than abont 10一seconds. In some                 apart from the first electrode;
embodiments, T〇 is less than abont 533 10~“ seconds.                     disposing a porous separator between the eleetrodes;
   According to a ninth aspect of the invention there is         50      eontaining within a sealed paekage the eleetrodes, the
provided a charge storage deviee ineluding:                           separator and an electrolyte, wherein the eleetrodes are
   a first electrode;                                                 immersed in the eleetrolyte; and
   a second electrode being opposed to and spaced apart                  electrically connecting a first terminal and a second
from the first electrode;                                             terminal to the first electrode and the second eleetrode
   a porous separator disposed between the eleetrodes;           55   respeetively sueh that the terminals extending from the
   a sealed paekage for containing the electrodes, the sepa­          package to allow external electrical cormection to the
rator and an electrolyte in whieh the eleetrodes are                  respective electrodes, wherein the volumetrie power maxi­
immersed; and                                                         mum of the deviee is greater than about 35 Watts/cm^.
   a first terminal and a second terminal being eleetrieally             According to a thirteenth aspeet of the invention there is
connected to the first electrode and the second eleetrode        60   provided a charge storage deviee ineluding:
respeetively and both extending from the paekage to allow                first electrode;
electrical connection to the respeetive eleetrodes, wherein              a second electrode being opposed to and spaced apart
the gravimetrie power maximum of the deviee is greater                from the first electrode;
than abont 12.5 Watts/gram.                                              a porous separator disposed between the eleetrodes;
   Preferably, the gravimetrie power maximum of the deviee       65      a sealed paekage for containing the electrodes, the sepa­
is greater than abont 15 Watts/gram. More preferably, the             rator and an electrolyte in whieh the eleetrodes are
gravimetrie power maximum of the deviee is greater than               immersed; and
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   a first terminal and a second terminal being eleetrieally                a first sheet eleetrode;
connected to the first electrode and the seeond eleetrode                   a second sheet eleetrode disposed adjaeent to the first
respeetively and both extending from the paekage to allow                electrode, whereby the eleetrodes are folded baek upon their
external electrical connection to the respective electrodes,             respective lengths;
wherein the time eonstant of the deviee is less than ahont          5       a porous separator disposed between adjaeent eleetrodes;
0.03 seconds.                                                            and
   Preferably, the time eonstant of the deviee is less than                 a sealed paekage for containing the electrodes, the sepa­
ahont l〇q seconds. More preferably, the time eonstant of                 rator and an electrolyte, whereby the first electrode is
the deviee is less than ahont 10~^ seconds. In some embodi­              eleetrieally connected to a first terminal and the seeond
ments the time eonstant of the deviee is less than ahont 10一4       10   electrode is eleetrieally connected to a second terminal, both
seconds.                                                                 the first and second terminals extending from the paekage to
   According to a fourteenth aspeet of the invention there is            allow external electrical cormection to the respective elec­
provided a method of manufacturing a charge storage                      trodes.
device, the method including the steps of:                                  Aeeording to an eighteenth aspeet of the invention there
   providing a first electrode;                                     15   is provided a method of manufacturing a charge storage
   providing a second electrode being opposed to and spaced              device, the method including the steps of:
apart from the first electrode;                                             providing a first sheet eleetrode;
   disposing a porous separator between the eleetrodes;                     disposing a second sheet eleetrode adjaeent to the first
   eontaining the eleetrodes, the separator and an electrolyte           electrode;
                                                                    20
in whieh the eleetrodes are immersed a sealed paekage; and                  folding the electrodes are baek upon their respective
   electrically connecting a first terminal and a second                 lengths;
terminal to the first electrode and the seeond electrode                    disposing a porous separator between adjaeent eleetrodes;
respeetively sueh that the terminals extending from the                     sealing within a package the eleetrodes, the separator and
paekage to allow external electrical connection to the                   an electrolyte; and
                                                                    25
respective electrodes, wherein the time eonstant of the                     electrically connecting the first electrode to a first terminal
deviee is less than ahont 0.03 seconds.                                  and the seeond electrode to a second terminal, wherein both
   Preferably, the time eonstant of the deviee is less than              the first and second terminals extend from the paekage to
ahont l〇q seconds. More preferably, the time eonstant of                 allow external electrical cormection to the respective elec­
the deviee is less than ahont 10~^ seconds. Even more                    trodes.
                                                                    30
preferably, the time eonstant of the deviee is less than ahont              Aeeording to a nineteenth aspeet of the invention there is
1〇T seconds. In some embodiments the time eonstant of the                provided a multiple eharge storage deviee ineluding:
deviee is less than ahont 10 ’ seconds.                                     a first electrode being eleetrieally cormectod to a first
   According to a fifteenth aspeet of the invention there is             terminal;
provided a charge storage deviee ineluding:                         35
                                                                            a second electrode disposed adjaeent the first electrode
   a plurality of first sheet eleetrodes having respective first         and being eleetrieally cormectod to a second terminal;
tabs extending therefrom;                                                   a third electrode disposed adjaeent to the first electrode
   a plurality of second sheet eleetrodes alternated with the            and being eleetrieally cormectod to the second terminal;
first electrodes and having respective second tabs extending                one or more porous separators disposed between adjaeent
therefrom;                                                          40   eleetrodes; and
   a porous separator means disposed between adjaeent                       a package for containing the eleetrodes, the one or more
electrodes; and                                                          separators and an electrolyte, whereby the terminals extend
   a sealed paekage for containing the electrodes, the sepa­             from the paekage to allow external electrical cormection to
rator means and an electrolyte, whereby the first tabs are               the respective electrodes.
eleetrieally connected to a first terminal and the seeond tabs      45      Aeeording to a twentieth aspeet of the invention there is
are eleetrieally connected to a second terminal, both the first          provided a method of manufacturing a multiple charge
and second terminals extending from the paekage to allow                 storage device, the method including the steps of:
external electrical connection to the respective electrodes.                providing a first electrode;
   Aeeording to a sixteenth aspeet of the invention there is                eleetrieally connecting the first electrode to a first termi­
                                                                    50   nal;
provided a method of manufacturing a charge storage
device, the method including the steps of:                                  disposing a second electrode adjaeent the first electrode;
   providing a plurality of first sheet eleetrodes having                   eleetrieally cormecting the second electrode to a second
respective first tabs extending therefrom;                               terminal;
   alternating a plurality of second sheet eleetrodes with the              disposing a third electrode adjaeent to the first electrode;
                                                                    55
first electrodes, the seeond sheet eleetrodes having respec­                eleetrieally cormecting the third electrode to the second
tive seeond tabs extending therefrom;                                    terminal;
   disposing a porous separator means between adjaeent                      disposing one or more porous separators between adjaeent
eleetrodes;                                                              eleetrodes; and
   eontaining within a sealed paekage the eleetrodes, the           60      containing within a package the electrodes, the one or
separator means and an electrolyte;                                      more separators and an electrolyte, whereby the terminals
   electrically cormecting the first tabs to a first terminal and        extend from the paekage to allow external electrical con­
the seeond tabs to a second terminal, wherein both the first             nection to the respective electrodes.
and second terminals extending from the paekage to allow                    Aeeording to a twenty first aspect of the invention there
external electrical connection to the respective electrodes.        65   is provided a multiple eharge storage deviee ineluding:
   Aeeording to a seventeenth aspeet of the invention there                 a package defining a sealed eavity containing an electro­
is provided a charge storage deviee ineluding:                           lyte；
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   two spaced apart capacitor terminals each extending                     Aeeording to a twenty fifth aspeet of the invention there
between a first end located within the cavity and a second              is provided a multiple eharge storage deviee ineluding:
end external to the paekage;                                               a first sheet eleetrode being eleetrieally connected to a
   a first capacitor cell located within the cavity and being in        first terminal and inclnding a first coating on one side thereof
contact with the electrolyte, wherein the first cell has both a    5    and a second coating on the other side thereof, the first
first predetermined time eonstant and two cell terminals                coating being of a first predetermined thiekness and the
which are eleetrieally connected to respective capacitor                seeond eoating being of a second predetermined thiekness;
terminals; and                                                             a second sheet eleetrode being eleetrieally connected to a
   a second capacitor cell located within the cavity and being          second terminal and disposed adjaeent to the one side of the
both in contact with the electrolyte and maintained in a           10   first electrode, wherein the seeond electrode ineludes a third
spaced apart configuration with respect to the first cell, the          coating on one side thereof of a third predetermined thiek­
second eell having both a second predetermined time eon­                ness, the third coating being opposed to the first coating;
stant and two cell terminals which are eleetrieally connected              a third electrode being eleetrieally connected to the see­
to respective capacitor terminals.                                      ond terminal and disposed adjaeent to the other side of the
   According to a twenty second aspect of the invention            15   first electrode, wherein the third electrode includes a fourth
there is provided a method of manufacturing a multiple                  coating on one side thereof a fourth predetermined thiek­
charge storage deviee ineluding the steps of:                           ness, the fourth coating being opposed to the seeond coating;
   containing an electrolyte in a sealed eavity defined by a               one or more porous separators disposed between adjaeent
package;                                                                eleetrodes; and
   providing two spaced apart capacitor terminals each             20      a package for containing the eleetrodes, the one or more
extending between a first end located within the cavity and             separators and an electrolyte, whereby the terminals extend
a second end external to the paekage;                                   from the paekage to allow external electrical connection to
   locating a first capacitor cell within the cavity and in             the respective electrodes.
contact with the electrolyte, wherein the first cell has both a            Aeeording to a twenty sixth aspeet of the invention there
first predetermined time eonstant and two cell terminals           25   is provided a method of manufacturing a multiple charge
which are eleetrieally connected to respective capacitor                storage device, the method including the steps of:
terminals; and                                                             providing a first sheet eleetrode;
   locating a second capacitor cell within the cavity and in               eleetrieally connecting the first electrode to a first termi­
contact with the electrolyte while being maintained in a                nal;
spaced apart configuration with respect to the first cell, the     30      applying a first coating to one side of the first electrode
second eell having both a second predetermined time eon­                and a second coating to the other side, the first coating being
stant and two cell terminals which are eleetrieally connected           of a first predetermined thiekness and the seeond coating
to respective capacitor terminals.                                      being of a second predetermined thiekness;
   According to a twenty third aspect of the invention there               applying a third coating on one side of a second electrode,
is provided a multiple eharge storage deviee ineluding:            35   the third coating being of a third predetermined thiekness;
                                                                           disposing the seeond sheet eleetrode adjaeent to the first
   a first sheet eleetrode being eleetrieally connected to a
                                                                        electrode sueh that the third coating is opposed to the first
first terminal and having a first coating on at least one side
                                                                        coating;
thereof, the eoating being of predetermined varying thick­
                                                                           electrically connecting the second electrode to a second
ness;
                                                                   40   terminal;
   a second electrode disposed adjaeent to the first electrode
                                                                           applying a fourth coating of a fourth predetermined
and being eleetrieally connected to a second terminal;
                                                                        thiekness to a third electrode;
   one or more porous separators disposed between adjaeent
                                                                           disposing the third electrode adjaeent to the first electrode
eleetrodes; and
                                                                        sueh that the fourth coating is opposed to the seeond coating;
   a package for containing the eleetrodes, the one or more        45      electrically connecting the third electrode to the seeond
separator and an electrolyte, whereby the terminals extend              terminal;
from the paekage to allow external electrical connection to                disposing one or more porous separators between adjaeent
the respective electrodes.                                              eleetrodes; and
   Aeeording to a twenty fourth aspect of the invention there              containing within a package the electrodes, the one or
is provided a method of manufacturing a multiple charge            50   more separators and an electrolyte, whereby the terminals
storage device, the method including the steps of:                      extend from the paekage to allow external electrical con­
   providing a first sheet eleetrode;                                   nection to the respective electrodes.
   eleetrieally connecting the first electrode to a first termi­           Aeeording to a twenty seventh aspeet of the invention
nal;                                                                    there is provided eleetrodes for use in a supercapacitor, the
   applying a first coating on at least one side of the first      55   electrodes including:
electrode, the eoating being of predetermined varying thick­               a substrate; and
ness;                                                                      carbon particles mixed with a suspension of protonated
   disposing a second electrode adjaeent to the first elec­             earboxy-methyl-eellulose eoated on the substrate.
trode;                                                                     Aeeording to a twenty eighth aspeet of the invention there
   eleetrieally connecting the second electrode to a second        60   is provided a supercapacitor including:
terminal;                                                                  at least one pair of electrodes having a mixture of carbon
   disposing one or more porous separators between adjaeent             particles and a suspension of protonated earboxy-methyl-
eleetrodes; and                                                         eellulose eoated on facing surfaces of the at least one pair of
   containing within a package the electrodes, the one or               electrodes;
more separator and an electrolyte, whereby the terminals           65      a separator positioned between said facing surfaees of
extend from the paekage to allow external electrical con­               said at least one pair of electrodes; and
nection to the respective electrodes.                                      an electrolyte wetting the separator.
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                              11                                                                      12
   According to a twenty ninth aspect of the invention there               providing a second electrode having a second substrate
is provided a charge storage device including:                          and a second carbon layer supported by the seeond substrate,
   a first electrode having a first layer formed from a                 the seeond layer being formed from a carbon having a
11011-foamed earbon;                                                    surface area of at least about 400 m^/gram, the seeond layer
   a second electrode having a second layer formed from a          5    being opposed to and spaced apart from the first layer;
11011-foamed earbon, the seeond layer being opposed to and                 disposing a porous separator by the eleetrodes;
spaced apart from the first layer;                                         eontaining the eleetrodes, the separator and an electrolyte
   a porous separator disposed between the eleetrodes;                  in whieh the eleetrodes are immersed in a sealed paekage;
   a sealed paekage for containing the electrodes, the sepa­            and
rator and an electrolyte in whieh the eleetrodes are               10      electrically connecting a first terminal and a second
immersed; and                                                           terminal to the first electrode and the seeond electrode
   a first terminal and a second terminal being eleetrieally            respeetively sueh that both the terminals extending from the
connected to the first electrode and the seeond electrode               paekage to allow external electrical connection to the
respeetively and both extending from the paekage to allow               respective electrodes, wherein the gravimetrie power maxi­
external electrical connection to the respective electrodes,       15   mum of the deviee is greater than about 4.8 Watts/gram.
wherein the surfaee area of the earbon used to form the first              Preferably, the surfaee area of the earbon is at least 1200
and second layers is greater than 20 m^/gram.                           m^/gram. More preferably, at least one of the layers contains
   According to a thirtieth aspect of the invention there is            more than one type of carbon.
provided a method of manufacturing a charge storage                        According to a thirty third aspect of the invention there is
device, the method including the steps of:                         20   provided an energy storage deviee ineluding:
   coating a first electrode with a first layer formed from a              a housing;
non-foamed carbon;                                                         a first and a second opposed eleetrodes having respective
   coating a second electrode with a second layer formed                first and a second charge storage eapaeities, the eleetrodes
from a non-foamed earbon;                                               being disposed within the housing and the first charge
   opposing the first and second layers in a spaced apart          25   storage eapaeity being greater than the seeond charge stor­
configuration;                                                          age eapaeity;
   disposing a porous separator between the eleetrodes;                    a separator intermediate the eleetrodes; and
   eolleetively eontaining the eleetrodes, the separator and               an electrolyte disposed within the housing for transferring
an electrolyte in whieh the eleetrodes are immersed in a                charge with the eleetrodes.
sealed paekage; and                                                30      Preferably, the first electrode includes an aluminium sheet
   electrically connecting a first terminal and a second                having a first carbon coating on one side thereof and the
terminal to the first electrode and the seeond electrode                seeond electrode ineludes an aluminium sheet having a
respeetively sueh that the eleetrodes both extend from the              second carbon coating on one side thereof wherein the first
paekage to allow electrical connection to the respeetive                and the seeond coatings are opposed. More preferably, the
eleetrodes, wherein the surfaee area of the earbon nsed to         35   sheets are substantially dimensionally equivalent and the
form the first and second layers is greater than 20 m^/gram.            eharge storage eapaeities vary due to differences between the
   According to a thirty first aspect of the invention there is         first coating and the second coating. Even more preferably,
provided a charge storage device including:                             the first coating is thicker than the second coating. In other
   a first electrode having a first substrate and a first carbon        embodiments, however, the speeifie eapaeitanee of the first
layer supported by the substrate, the layer being formed           40   coating is greater than that of the seeond coating. That is, the
from a carbon having a surface area of at least about 400               first coating includes a carbon which provides a predeter­
m^/gram;                                                                mined eapaeitanee per gram, which is greater than that of the
   a second electrode having a second substrate and a second            earbon included within the second coating. In further
carbon layer supported by the seeond substrate, the seeond              embodiments the diflerenee in eharge storage eapaeities is
layer being formed from a carbon having a surface area of          45   due to diflerences in the loading of the eoatings, expressed
at least about 400 m^/gram, the seeond layer being opposed              in milligrams of coating per cm% while in other embodi­
to and spaced apart from the first layer;                               ments it is due to diflerences in active surface area of the
   a porous separator disposed between the eleetrodes;                  earbon per unit area of electrode.
   a sealed paekage for containing the electrodes, the sepa­               Preferably, the eharge storage eapaeities are different due
rator and an electrolyte in whieh the eleetrodes are               50   to a difference in surface area of the first and second
immersed; and                                                           electrodes.
   a first terminal and a second terminal being eleetrieally               In a preferred form the ratio of the first charge storage
connected to the first electrode and the seeond electrode               eapaeity and the seeond charge storage eapaeity is in the
respeetively and both extending from the paekage to allow               range of about 9:7 to 2:1. More preferably, the ratio is in the
external electrical connection to the respective electrodes,       55   range of about 5:3 to 2:1.
wherein the gravimetrie power maximum of the deviee is                     In a preferred from the difierenee in the first and second
greater than about 4.8 Watts/gram.                                      charge storage eapaeities is due to the seeond electrode
   Preferably, the surfaee area of the earbon is at least 1200          ineluding a filler material. In some embodiments this filler
m^/gram. More preferably, at least one of the layers contains           material is a lower surface area carbon, while in other
more than one type of carbon.                                      60   embodiments use is made of metal fibres or carbon nano­
   According to a thirty second aspect of the invention there           tubes. More preferably, the filler material is conductive.
is provided a method of manufacturing a charge storage                  Even more preferably, the first and the second electrodes ore
device, the method including the steps of:                              of about the same nominal thickness notwithstanding the
   providing a first electrode having a first substrate and a           inelusion of the filler material.
first carbon layer supported by the substrate, the first carbon    65      According to a thirty fourth aspect of the invention there
layer being formed from a carbon having a surface area of               is provided a method of producing an energy storage deviee
at least about 400 m^/gram;                                             having a housing, the method including the steps of:
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                              13                                                                     14
   disposing within the honsing a first and a second opposed               Preferably, the separator includes two opposed separator
electrodes having respective first and a second charge stor­            sheets eonneeted along at least one eommon edge and the
age eapaeities wherein the first charge storage eapaeity                method includes the further step of disposing the first
being greater the seeond charge storage capacity;                       electrode between the separator sheets. More preferably, the
   disposing a separator intermediate the eleetrodes; and          5    separator sheets are integrally formed. Even more prefer­
   providing an electrolyte within the housing for transfer­            ably, the separator sheets are integrally formed along the
ring charge with the eleetrodes.                                        eommon edge.
   Preferably, the first electrode includes an aluminium sheet             Preferably also, each separator sheet includes a first edge
having a first carhon coating on one side thereof and the               and a second edge spaeed apart from the first, both of which
seeond electrode ineludes an aluminium sheet having a              10   extend away from the eommon edge. More preferably, each
second carbon coating on one side thereof wherein the                   separator sheet also includes a third edge which extends
method includes the further step of opposing the first and the          between the first edge and the second edge, wherein the
seeond coatings. More preferably, the sheets are substan­               method includes the further step of joining together the first
tially dimensionally equivalent and the method include the              edges and joining together the seeond edges. Even more
further step of providing differences between the first coat­      15   preferably, the third edges are opposed.
ing and the second coating to provide the variation in the                 Aeeording to a thirty seventh aspeet of the invention there
eharge storage eapaeities. Even more preferably, the first              is provided a charge storage deviee ineluding:
coating is thicker than the second coating. In other embodi­               two opposed eleetrodes having respective eoatings of
ments, however, the speeifie eapaeitanee of the first coating           carbon particles, the particles having a predetermined nomi­
is greater than that of the seeond coating.                        20   nal diameter and the eoatings having of a thickness greater
   According to a thirty fifth aspect of the invention there is         than but in the order of the nominal diameter;
provided a charge storage device including:                                a porous separator disposed between the eleetrodes;
   a housing;                                                              a sealed paekage for containing the electrodes, the sepa­
   a first sheet eleetrode disposed within the housing;                 rator and an electrolyte in whieh the eleetrodes are
   a second sheet eleetrode disposed within the housing            25   immersed; and
adjacent to and opposed with the first sheet eleetrode;                    a first terminal and a second terminal being eleetrieally
   a separator for enveloping substantially all of the first            connected to the first electrode and the seeond electrode
electrode and for maintaining the electrodes in a spaced                respeetively and both extending from the paekage to allow
apart configuration;                                                    external electrical connection to the respective electrodes.
   an electrolyte disposed intermediate the eleetrodes; and        30      Preferably, the predetermined nominal diameter is less
   two terminals extending from the respeetive eleetrodes               than about 8 microns and the eoating thickness is less than
and terminating outside the housing for allowing external               100 microns. More preferably, the predetermined nominal
electrical connection to the electrodes.                                diameter is less than about 6 microns and the eoating
   Preferably, the separator includes two opposed separator             thickness is less than about 36 microns. Even more prefer­
sheets whieh are eonneeted along at least one eommon edge          35   ably, the predetermined nominal diameter is less than about
and the first electrode is disposed between the separator               2 micron and the eoating thickness is less than about 6
sheets. More preferably, the separator sheets are integrally            microns.
formed. Even more preferably, the separator sheets are                     According to a thirty eighth aspeet of the invention there
integrally formed along the eommon edge.                                is provided a method of manufacturing a charge storage
   Preferably also, each separator sheet includes a first edge     40   device, the method including the steps of:
and a second edge spaeed apart from the first, both of which               opposing two electrodes having respective eoatings of
extend away from the eommon edge. More preferably, each                 carbon particles, the particles having a predetermined nomi­
separator sheet also includes a third edge which extends                nal diameter and the eoatings having of a thickness greater
between the first edge and the second edge, wherein the first           than but in the order of the nominal diameter;
edges are opposed and joined together and the seeond edges         45      disposing a porous separator between the eleetrodes;
are opposed and joined together. Even more preferably, the                 eontaining in a sealed paekage the eleetrodes, the sepa­
third edges are opposed.                                                rator and an electrolyte in whieh the eleetrodes are
   In a preferred form, the first electrode ineludes a first            immersed; and
sub-sheet and a second sub-sheet whieh is opposed to the                   electrically connecting a first terminal and a second
first. More preferably, the first and the seeond sub-sheets are    50   terminal to the first electrode and the seeond electrode
opposed. Even more preferably, each of the first and second             respeetively for extending from the paekage to allow exter­
sub-sheets are joined along a common edge. Preferably also,             nal electrical connection to the respective electrodes.
the eommon edge between the first and second sub-sheets is                 Unless the eontext elearly requires otherwise, throughout
disposed adjaeent to the eommon edge between two opposed                the deseription and the elaims, the words 'comprise', 'com­
separator sheets.                                                  55   prising', and the like are to be eonstmed in an inclusive
   Aeeording to a thirty sixth aspect of the invention there is         sense as opposed to an exclusive or exhaustive sense; that is
provided a method of constructing a charge storage device               to say, in the sense of '*including, but not limited to".
having a housing, the method including the steps of:                    Additionally, the words 'includes', 'including' and the like
   disposing at least two opposed sheet eleetrodes within the           are used interchangeably with the words 'comprise', 'eom-
housing;                                                           60   prising', and the like.
   enveloping substantially all of a first one of the eleetrodes
with a separator for maintaining the eleetrodes in a spaced                   BRIEF DESCRIPTION OE THE DRAWINGS
apart configuration;
   disposing an electrolyte intermediate the eleetrodes; and              FIG. 1 is a perspective view of a charge storage device
   providing two terminals extending from the respeetive           65   according to the invention in the form of a supercapacitor.
eleetrodes and terminating outside the housing for allowing               FIG. 2 is a schematic view of an electrode eonfiguration
external electrical connection to the electrodes.                       according to a first embodiment of the invention;
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                             15                                                                          16
   FIG. 3 is a schematic side view of a sheet electrode;             respeetively and both extending from the paekage to allow
   FIG. 4 is a schematic plan view of a charge storage device        external electrical connection to the respective electrodes,
according to another aspect of the invention ntilising an            wherein the gravimetrie FOM of the deviee is greater than
interleaved plurality of the sheet eleetrodes of FIG. 3;             about 2.1 Watts/gram.
   FIG. 5 is a schematic front view of an alternative super-       5    It will be appreeiated that the gravimetrie FOM is a figure
capacitor according to the invention;                                of merit more appropriate for use with energy storage
   FIG. 6 is a schematic left hand side view of the superea-         deviees intended for pulse power applications. That is, such
pacitor of FIG. 5;                                                   applications are by necessity frequency dependent and, as
   FIG. 7 is a schematic right hand side view of the super-          such, the ealeulation of the figure of merit involves first
eapaeitor of FIG. 5;                                              lo identifying the frequeney f〇 at which the impedanee of the
   FIG. 8 is a schematic front view of a further alternative         storage deviee reaehes a 一45° phase angle. A reeiproeal of
supereapaeitor according to the invention;                           f〇 then provides a characteristic response time T〇 for the
   FIG. 9 is a schematic side view of the supereapaeitor of          storage deviee. The value of the imaginary part of the
FIG. 8;                                                              impedanee Z" at f〇 is used to calculate the energy E〇 that the
   FIG. 10 is a schematic front view of another supercapaci-      15 device is able to provide at that frequency. More partieu-
tor according to the invention;                                      larly:
   FIG. 11 is a schematic side view of the supereapaeitor of
                                                                            E〇=切CヽP
FIG. 10;
   FIG. IIA is a schematic cross sectional of the superea­           where C=-f/(2 π f〇 Z") and V is the rated voltage of the
paeitor of FIG. 10;                                               20 device. The gravimetric figure of merit is then ealeulated by
   FIG. 12 is a graph of the gravimetrie FOM versus T〇 for           dividing E〇 by the mass of the deviee and by T〇. That is,
specific examples of the invention;
   FIG. 13 is a graph of the volumetrie FOM versus T〇 for                   gravimetric FOM=£〇/(m. 7")
specific examples of the invention;                                     The gravimetrie figure of merit has been suggested by
   FIG. 14 is a graph of the gravimetrie power maximum            25 John R. Miller in a paper entitled "Pulse Power Performance
versus time eonstant for the speeifie examples of the inven­         of Eleetroehemieal Capacitors: Technical Status of Present
tion;                                                                Commereial Devices'' for the "8th International Seminar on
   FIG. 15 is a graph of the volumetrie power maximum                Double Layer Capacitors and Similar Energy Storage
versus time eonstant for specific examples of the invention;         Deviees'', Deerfield Beaeh, Fla., Dec. 7-9, 1998. The teach­
   FIG. 16 is a table illustrating the sealahility of the         30 ings of and disclosure within that paper are ineorporated
invention;                                                           herein by way of cross reference.
   FIG. 17 is a table illustrating parameters of supercapaci­
                                                                        Also detailed in the Miller paper is the ealeulation of a
tors of the present invention as well as some prior art
                                                                     volumetric figure of merit (volumetric FOM) whieh is based
supercapacitors;
                                                                     upon E〇 divided by both !〇 and the volume of the deviee.
   FIG. 18 is a schematic cross sectional view of a super-        35
                                                                     The volumetrie FOM is expressed in terms of Watts/em^.
capacitor according to another aspect of the invention;
   FIG. 19 is a schematic cross sectional view of a super­              These figures of merit provide a diflerent characterisation
capacitor according to a further aspect of the invention;            of storage deviees whieh is more in keeping with the
   FIG. 20 is a Table illustrating further examples of super­        frequeney dependent nature of pulse power and other such
capacitors made in aeeordanee with the invention;                 가〇
                                                                     applieations to which the devices are being applied. It should
   FIG. 21 is a schematic cross section of a supereapaeitor          also be noted that the perfbrmanee of the deviees ean not be
according to one embodiment of the invention;                        adequately explained by the hitherto utilised simple RC
   FIG. 22 is a plan view of a separator for the supereapaeitor      model. Sueh simple models do not account for the frequeney
of FIG. 21;                                                          dependent nature of either pulsed or high power applica­
   FIG. 23 is a schematic plan view of one of the eleetrodes      가5
                                                                     tions, whereas the FOM used to characterise the present
of the supereapaeitor of FIG. 21;                                    invention is a parameter directly relevant to such applica­
   FIG. 24 is a schematic perspective view of an electrode           tions.
assembly ineluding the separator of FIG. 22 and the elee-               Preferably, the first electrode ineludes a first substrate and
trode of FIG. 23; and                                                a first carbon layer supported by the substrate, and the
   FIG. 25 is a schematic perspective view of the assembly        50 seeond electrode ineludes a second substrate and a second
of FIG. 24 nested within a like eleetrode to that shown in           carbon layer supported by the seeond substrate, wherein the
FIG. 23.                                                             first and second carbon layers are opposed and include a
                                                                     surface area of at least 400 m^/gram and the gravimetrie
           DETAILED DESCRIPTION OF THE                               FOM of the deviee is greater than about 1 Watts/gram.
                    INVENTION                                     55    It will be appreeiated that measurements herein of surface
                                                                     area that are expressed in m^/gram are obtained from Nitro­
   According to a first aspect of the invention there is             gen BET teehniques.
provided a charge storage deviee ineluding:                             More preferably, the surfaee area of the earbon layers are
   a first electrode;                                                at least 1200 m^/gram. Even more preferably, at least one of
   a second electrode being opposed to and spaced apart           60 the earbon layers contains more than one type of carbon.
from the first electrode;                                               Even more preferably, the earbon layers are a mixture of
   a porous separator disposed between the eleetrodes;               particles of high surface area carbon and highly conductive
   a sealed paekage for containing the electrodes, the sepa­         carbon in a ratio of about 2.5:1 combined with a suspension
rator and an electrolyte in whieh the eleetrodes are                 of protonated earboxy methyl eellulose (CMC). It will be
immersed; and                                                     65 appreeiated, however, that other embodiments make use of
   a first terminal and a second terminal being eleetrieally         other binders. For example, another such binder is sodium
connected to the first electrode and the seeond eleetrode            CMC.
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                             17                                                                     18
   Referring now to FIG. 1, there is illustrated one embodi­           kind will now be deseribed in more detail. In other embodi­
ment of an energy storage deviee aeeording to the invention            ments, sueh as that described with reference to FIG. 1, a
in the form of a supercapacitor 1. Supercapacitor 1 is                 similar preparation and coating technique is used. However,
packaged in a cylindrical housing 2 which extends axially              as will be appreeiated by the skilled addressee, the sheet
between a first end 3 and a second spaced apart end 4. In         5    eleetrodes of FIG. 1 are staeked rather than wound.
other embodiments differently eonfignred housing are used.                The supereapaeitor is of the double layer type and, for the
   The housing has a cylindrical sidewall 6 and, disposed              spiral wound configuration, one preforred embodiment
adjaeent to respective ends 3 and 4, a circular top 7 and base         makes use of aluminium sheet eleetrodes that are 2500 mm
8. All adjacent edges of the base, sidewall and top are                long and 85 mm wide. The first step is the preparation of the
sealingly engaged. In this embodiment housing 2 is formed         10   eoating mixture that contains:
from metal and top 7 and base 8 are sealingly adhered to                  high surface area carbon;
sidewall 6.                                                               conductive carbon;
   Top 7 includes two diametrically spaced apart ports 9 and              binder;
10 for sealingly receiving respeetive terminals 11 and 12.                a surfactant; and
The terminals extend from within housing 2 where they are         15      water.
eleetrieally connected to respective ones or sets of electrodes           Although the coating process makes use of a wire-bar
of supercapacitor 1. Although a large number of possible               technique it will be appreeiated by those skilled in the art
eleetrodes are used in various embodiments of the invention,           that other suitable teehniques sueh as reverse roll, doctor
the most preferred will be diseussed more detail below.                blade or the like are also available.
   Terminals 11 and 12 are sealingly retained within the          20      Immediately after the eoating procedure is finished, the
respeetive ports by rubber seals 13 and 14.                            electrode spools are plaeed in an oven to remove any
   A first preferred eleetrode eonfiguration is illustrated in         remaining water and to cure the binder. This also prevents
FIG. 2. More partieularly, in this embodiment, supereapaei-            eorrosion of the aluminium. The oven temperature is main­
tor 1 includes a plurality of first sheet eleetrodes 21 having         tained in the range of 110° C. to 140° C. and preferably
respective first tabs 22 extending therefrom. A plurality of      25   under a fan forced nitrogen atmosphere. The latter is to
like seeond sheet eleetrodes 23 are alternated with eleetrodes         minimise oxidation. The euring time is at least 5 hours,
21 and have respeetive seeond tabs 24 extending therefrom.             although in some eireumstanees it is left longer, such as
A plurality of porous sheet separators 25 is disposed                  twelve hours, without any detriment. Prior to removing the
between the adjaeent eleetrodes. As deseribed with referenee           eleetrodes, the oven should be allowed to cool to room
to FIG. 1, housing 2 contains electrodes 21 and 23, separa­       30   temperature to minimise oxidation.
tors 25 and an electrolyte (not shown). Tabs 22 are eleetri­              It is more eonvenient to coat the full width of the
eally connected to terminal 11 and tabs 24 are eleetrieally            aluminium foil electrode and then slit to the desired width
connected to terminal 12 to allow external electrical con­             rather than coat narrow widths of foil. In some embodiments
nection to the respective electrodes.                                  an uncoated edge is utilised and the earbon layer is applied
   It will be appreeiated that although in FIG. 2 there are       35   aeeordingly.
illustrated two electrodes 21 and two electrodes 23, the                  Although the sheet eleetrode has only been eoated on one
aetual embodiment ineludes a far greater number of such                side, in other embodiments it ineludes a coating on both
sheet electrodes whieh are all interconnected to provide a             sides. However, in other embodiments, rather than coating
predetermined eapaeitanee. The invention, in this form, is             both sides, two sheets with a single sided eoating are plaeed
particularly advantageous in that the modular unit of capaci­     40   in a back to back configuration to define a double sided
tance一one eleetrode 21, one eleetrode 23 and an interme­               eleetrode. That is, the foil electrodes are adhered or other­
diate separator 25——easily mass produced and combined                  wise seeure together such that the respeetive earbon layer
with a plurality of like units to provide the neeessary                are outwardly facing and opposed to the earbon layers on
capacitance for a particular application. Accordingly, a               adjacent electrodes.
supercapacitor having specific performance characteristics        45      An offset is required between the two electrodes so that
is able to be produced easily and in small numbers at a unit           each end connection will only make eontaet with one
cost not dissimilar to that of a large run. In some embodi­            eleetrode.
ments a different size housing is required. The relative eost             In embodiments where the terminal is formed by spraying
of the housing, however, is not substantive.                           with aluminium, a flat edge is used to bend the opposed free
   Tabs 22 and 24 include respeetive eentrally disposed           50   edges of each electrode over at 90°. This stops penetration
apertures 27 and 28. These apertures reeeive respeetive                of aluminium spray used in the formation of the terminal.
eonduetive rods 29 and 30 for electrically interconnecting             This bending is eonveniently performed using the flat end of
like tabs. The rods are, in turn, electrically connected within        a 20 cm spatula while the element is turning. In preforred
housing 2 to respective electrodes 11 and 12.                          embodiments approximately 1 to 2 mm of the edge of the
   In some embodiments two adjacent electrodes 21 and 23          55   eleetrodes are bent over. When looking at the element down
are folded together to reduce one dimension of the elee­               the long axis, no gaps between eleetrodes should be visible.
trodes. This is partieularly advantageous in circumstances                A more detailed deseription of the aluminium spraying
where the packaging requirements are very specific,                    process is found in eo-pending PCT applieation number
although a known capacitance is required.                              PCT/AU98/00406 the details of which are incorporated
   In another embodiment, a similar eflect is achieved            60   herein by way of cross reference.
through use of two or more sheet eleetrodes, and one or more              Briefly, however, it will be noted that the aluminium metal
intermediate separators, which are wound together in a                 spray is used to make eleetrieal cormection with the wind­
spiral. The two sheet eleetrode are longitudinally elongate            ings. Beeause of the very high temperature of the flame a
and transversely offset sueh that their opposed edges define           steady movement of the gun aeross the elements used, with
the respeetive tabs. In this embodiment, the length of the        65   no more than about 1 to 2 seconds on each element at a
sheet eleetrodes is tailored for the speeifie eapaeitanee              distance of about 20 cm from the tip of the gun. This
requirements. The manufaeture of a supercapacitor of this              movement is repeated three times before the elements are
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                              19                                                                      20
turned and the remaining side sprayed. This proeess is                      The electrodes are preferably aluminium foil.
repeated as often as required until an nnintermpted aln-                    The eleetrolyte, in this embodiment, eonsists of a 1.0 M
mininm surface is produced, interspersed with cooling peri­             solution      of     tetraethylammonium         tetrafluoroborate
ods if the elements are hot to touch. It will he appreeiated            (TEATFB) dissolved in propylene earbonate (PC). That is,
that the eertain separators have a low softening temperature       5    217 grams of TEATFB in 1 litre of solution. The amount of
and will shrink in the eross direetion above that temperature.          water in the eleetrolyte is kept to an absolute minimum and
   Onee enough aluminium is huih up, the ends are ground                preferably less than 50 ppm. Accordingly, anhydrous PC is
until a smooth flat area is obtained suffieient for the termi­          used, such as that produced by Sigma Aldrich. Moreover, the
nals to be attaehed. As a large amount of heat is generated             TEATFB is exhaustively dried prior to use. This drying is
during grinding care is taken not to overheat the eapaeitor.       10   achieved by vaeuum oven drying at 160° C. for about six
This flat area need not be as large as the whole end but is             hours or such time that is sufficient to adequately reduee the
different for each end. The bottom end, that is the end                 moisture eontent.
intended to be disposed furthest from top 7, is provided with               The TEATFB is slow to dissolve, and at room temperature
an electrode which is welded with a flat tab that radially              it is not unusual to allow 24 hours for it to fully dissolve. The
extends from the eore. Aeeordingly, the flat area that is at       15   present preferred method, however, reduces this time by
least 10 mm wide and which has a smooth surface is needed               warming the solution to 50° C. To keep the moisture eontent
from the eore to the edge. The top end terminal is welded               low, the preparation of electrolyte is performed inside a dry
tangentially midway between the eore and the edge and so                nitrogen glove box.
requires about one third or one half of the end to be smooth.               The separator has desirable porosity, strength and thinness
   Laser welding of the terminal tabs is then undertaken. The      20   for use in the present invention.
equipment was a Lasag Nd:YAG laser rated at 500 W                           An alternative embodiment of the invention is illustrated
continuous. At least two 8 mm rows of welds ~3 mm apart                 in FIG. 3 and FIG. 4. In this embodiment, the basie capaci­
were produeed on each tab. The beam is moved at about 140               tive unit includes of two like sheet eleetrodes 35 and 36
mm/min, and pulsed at 10 Hz with an energy of 29.5                      which, as best shown in FIG. 4, are folded together. Each
Joules/pulse.                                                      25
                                                                        sheet eleetrode is reetangular and includes four adjacent
   Prior to the final placing of the now formed eapaeitor               edges 37, 38, 39 and 4〇. Extending outwardly from edge 40
element into the paekage, which is in the form of a metal               are two symmetrically spaced apart tabs 41 and 42 having
can. Teflon insulators are plaeed between the terminals and             respective apertures 43 and 44. These tabs function similarly
the top sprayed aluminium face to stop the terminal from the            to tabs 22 and 24 of FIG. 2 in that they are eonneeted
bottom touching the top face and producing a short circuit.        30
                                                                        together with a plurality of like tabs and collectively elec­
This insulator is a 1 mm thick Teflon disk with a 3 mm hole             trical joined to a terminal 11 or 12 of capacitor 1.
punehed in the eenter with a radial slit from this hole to the
                                                                            In use, each of electrodes 35 and 36 are eentrally folded
edge. This hole loeatos the insulator on the eenter terminal
                                                                        about an axis 45 which is parallel to edges 37 and 39. As
and prevents this terminal from touching the aluminium end
                                                                        shown in FIG. 4, each electrode is interleaved with the other
connection. A circular disk of Teflon is also placed in the        35
                                                                        such that edge 39 of each electrode lies adjaeent to axis 45
package to insulate the bottom of the element from the ean.
                                                                        of the other electrode. Also included between each adjacent
In most cases, polypropylene foam is disposed in the base of
                                                                        portion of the eleetrodes is a porous separator 46. It will be
the ean to hold the element in plaee. In other embodiments,
                                                                        appreeiated that the FIG. 4 illustration is schematically
however, use is made of a formed plastie locater.
                                                                        represented to assist an understanding of the eonfiguration of
   Once the eapaeitive element is in the ean, a final drying       40
                                                                        this embodiment. In praetiee the adjaeent eleetrodes and
step is earned out to remove any moisture. This is earned out
                                                                        separators are immediately adjaeent eaeh other rather than
in a vacuum oven at a maximum temperature of 80° C. This
                                                                        the spaeed apart configuration shown in FIG. 4.
low temperature avoids softening of the separator. The low
temperature drying is carried out for about 12 hours using a                Electrodes 35 and 36 include on each side a layer of
rotary vacuum pump, capable of producing a vacuum of               45
                                                                        activated carbon that is applied as described above. How­
better than 150 Pa.                                                     ever, as would now be appreeiated by those skilled in the art
   Electrolyte is then added to the ean so that the eapaeitive          the winding step of the above method would be substituted
element, exeluding the upwardly extending terminals, are                with a folding and then a stacking of a predetermined
eompletely eovered. The pressure in the oven is gradually               plurality of capacitive elements to provide supereapaeitor 1
reduced to about 53 Pa such that air trapped in the carbon         50
                                                                        with the desired eleetrieal characteristics.
pores is removed. When the initial degassing has subsided,                  Where use is made of a plurality of capacitive elements,
the vaeuum is increased to 8 Pa. This process is facilitated            a porous separator is disposed between adjaeent elements to
by warming the oven to 60° C. After about 30 minutes                    prevent eleetrieal shorting.
degassing should have substantially stopped and the oven is                 In some embodiments eleetrodes 35 and 36 are initially
brought to atmospheric pressure with nitrogen. Thereafter          55   coextensively abutted with a separator and then folded
the eapaeitors are removed from the oven. More eleetrolyte              together.
is added and the proeess repeated until no more eleetrolyte                 In other embodiments edge 40 of one eleetrode lies
is taken up. It is usual for 2 or 3 cycles to be eompleted.             adjaeent to edge 38 of the other electrode sueh that tabs 41
Finally, any excess eleetrolyte is removed.                             and 42 extend away from each other. In some sueh embodi­
   The eapaeitor is then eompleted by mounting the top on          60   ments eaeh eleetrode is folded together with the other, and
the terminals. In this embodiment the top is made of                    the intermediate separator, along a plurality of axes, eaeh of
Bakelite, although in other embodiments other materials are             which is parallel and spaced apart from axis 45. In still
used. The top edge of the ean is curled over the periphery of           further embodiments the eleetrodes are folded along one or
the top using a sealing tool in a small drill press at ~100 rpm.        more axes whieh is or are normal to axis 45. In alternative
   Preferably, two types of carbon are used in the eapaeitor.      65   embodiments eleetrodes 35 and 36 are folded along at least
First, a high surface area or active carbon and, secondly, a            one axis parallel to axis 45 and at least one axis normal to
carbon such as a conductive carbon black.                               axis 45.
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                              21                                                                       22
   To further illustrate the invention and its applications it is        methods. Further, the eapaeitanee at this frequency ean then
useful to look at the theoretieal and practical underpinnings            be used to calculate the energy and provide a Figure of Merit
of supercapacitor development. More partieularly, it will be             (FOM) when normalised with mass or volume.
appreeiatod that the supereapaeitor of the invention are                    The theoretieal maximum power available from any
eapahle of being used in high power applications. The               5    capacitor is the quotient of the voltage squared over four
characteristics of such supercapacitor dictate the effieieney,           times the esr. When normalised to mass or volume this
size and mass required for the applieation. For a given mass             provides the theoretieal maximum power density in W/kg.
or volume and capacitance it is the characteristic of electri­           Clearly the maximum power can be inereased by either
cal resistance (known as the equivalent series resistanee or             decreasing the resistanee (as shown above), increasing the
esr) which distinguishes high from low efficiency superca­          10   operating voltage, or both. Increases in operating voltage
pacitors. That is, for high power applications a low esr is              ean be aehieved, without any change in the composition of
desired to minimise fosses.                                              the supereapaeitor materials, by maximising the voltage
   For any capacitor the electrical resistance ean he lowered            window in which the capacitor operates. In a supereapaeitor
by inereasing mass and volume. However, the desired result               with symmetrical carbon based electrodes, the voltage is
is a simultaneous decrease in resistance, mass and volume           15   equally distributed aeross both electrodes. During operation,
while maintaining capacitance.                                           the maximum capacitor voltage is limited by the breakdown
   The factors that contribute to electrical resistance inelude:         voltage of the weakest eleetrode. A higher operating voltage
the intrinsie eleetrieal conductivity of the carbon, for carbon          ean be aehieved by tailoring the eapaeitanee of each elec­
based supereapaeitors; the interfaeial resistance; the metallie          trode to fully utilise the available voltage window. This is
electrode and connection resistance; and the electrolyte and        20   conveniently aehieved by using different earbon loadings on
separator resistance. Attempts have been made to minimise                each electrode.
these faetors to achieve high efficiency operation.                         Aspeets of the invention described in this specification
   In a traditional capacitor, the current flow is between two           allow targeted energy and power densities to be aehieved by
flat electrodes separated by a dielectric. Although carbon               a novel supereapaeitor design and the assoeiated manufac­
based capacitors appear to be eonstmeted in a similar               25   turing process. One result is an extremely thin, high power
fashion, the material between the metallie eleetrodes is not             capacitor suitable for mobile telecommunication applica­
the dialeetie, but the high surfaee area carbon, electrolyte             tions. Another is suitable for load-leveling in hybrid electric
and separator (the aetive materials). The dieleetrie is the              vehicle. Specific examples of these will be further illustrated
nanometer thin layer of solvent at the earbon surface. As the            by the following description.
eurrent flows from the metallie eleetrodes through these            30
materials, their resistance must be minimised to reduce the                                       EXAMPLES
esr of the eapaeitor. This is achieved by reducing the
thickness of the active materials, for example by inereasing                                       Example 1
the density of the earbon coating or using thinner coatings.
Another approach along these lines is to use thinner sepa­          35
rators. The reduetion of thickness also reduces the resistive               As sehematieally shown in FIGS. 5 to 7, a supereapaeitor
component of the eleetrolyte by minimising the path through              51 includes a first electrode in the form of a first plurality of
which the current must flow.                                             spaced apart rectangular aluminium sheets 52. A second
   Another means of reducing the resistance of the aetive                eleetrode in the form of a second plurality of spaced apart
materials is to use more eonduetive earbons and electrolytes.       40
                                                                         rectangular aluminium sheets 53 are interleaved with and
The eombination of more eonduetive aetive materials with                 opposed to sheets 52. A plurality of porous separators 54 are
thinner design allows higher powers to be aehieved while                 interposed between the adjaeent she 52 and 53. A rectangular
maintaining or reducing the mass and/or volume.                          sealed plastie package 55 contains electrodes 52 and 53,
   The produet of resistance and capacitance (RC), com­                  separators 54 and an electrolyte 56 in whieh the eleetrodes
monly referred to as the time eonstant, is frequently used to       45
                                                                         are immersed. In this embodiment the eleetrolyte is aeeto-
characterise capacitors. In an ideal capacitor, the time eon-            nitrile with TEATFB. A rectangular tab 57 and a rectangular
stant is frequency independent. However, in carbon based                 tab 58 are integrally formed with and upwardly end from
supercapacitors, both R and C are frequeney dependent. This              respective ones of sheets 52 and 53. Tabs 57 are abutted
arises from the mieroporous eharaeteristies of high surface              together and electrically connected to a terminal 59, while
area carbons, and the nature of charge build up at the electric     50
                                                                         tabs 58 are abutted together and electrically connected to a
double layer on the earbon surface. The traditional method               terminal 6〇. This electrical connection is affected in this
of measuring R and C for supercapacitors is to use a constant            embodiment with ultrasonie welding. Both terminals 59 and
current charge or discharge and to measure the voltage jump              60 extend from package 55 to allow external electrical
at the start or finish of the eyele, and the rate of change of           cormection to the respective electrodes.
voltage during the eyele respeetively. This however effec­          55      Eaeh of sheets 52 and 53 have a width of about 70 mm,
tively provides the R at high frequency and the C at low                 a height of about 170 mm and a thickness of about 20
frequency. Another more suitable method is to measure the                microns. In this particular embodiment use is made of fifty
frequeney response of the eomplex impedanee and to model                 of each of sheets 52 and 53, in that there are 100 sheets in
a simple RC element to the data. This provides an estimate               total. This provides a total electrode area of 5950 cm~.
of R and C across the frequeney range that may or may not           60      As shown in the drawings, sheets 52 and 53 are eaeh
correlate with those measured using eonstant cart tech­                  eoated on a single side only with an activated carbon layer
niques. Clearly, the use of RC time constant as a measure of             62, as described with reference to the earlier embodiments.
capacitor suitability is subject to a large uneertainty. A more          Where appropriate two like sheets are abutted baek to back
useful teehnique has recently been proposed in whieh R and               to provide outwardly facing activated carbon layers that are
C are measured at the frequeney at which the phase angle of         65   opposed by like earbon layers on the other of the sheets. In
current and voltage is 一 45°. The reeiproeal of this frequency           this embodiment layer 62 is substantially uniform across tho
is the "response time" and is more elearly defined than other            sheets and has a thickness of about 36 microns.
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                             23                                                                     24
   Package 55 has a rectangular prismatic form made from               measured T〇 of 0.11 seconds provides a gravimetric FOM of
ABS having external dimensions of about 17 mm hy 110                   2.64 Watts/gram and a volumetric FOM of 3.00 Watts/cm^.
mm hy 190 mm. Where terminals 59 and 60 extend through
                                                                       When utilising the simple RC model the equivalent series
the paekage appropriate sealant 61 is used to prevent egress
                                                                       resistanee is about 5 mQ and the RC time eonstant is about
of electrolyte 56 from package 55 or, also importantly, the       5
                                                                       50 ms.
ingress of air, moisture or other contaminants into package
55.
                                                                                                Example 4
   As will be appreciated by those skilled in the art separator
54 maintains the opposed layers 62 in a spaced apart
                                                                          There is shown in FIGS. 10, 11 and llA a supereapaeitor
configuration to prevent eleetrieal conduction therebetween.      10
                                                                       81, where eorresponding features are denoted by eorre­
However, separators 52 do allow movement of the ions
                                                                       sponding reference numerals. As with the other examples
within the eleetrolyte between layers 62. In this particular
                                                                       deseribed above, use is made of sheet eleetrodes. However,
embodiment separators 54 are folded around back to back
                                                                       these sheets are eontained within a package 82 the size of a
pairs of sheets 53.
                                                                       credit card or smart card.
   Supereapaeitor 51 is rated at 2.5 Volts and provides a         15
                                                                          Each of sheets 52 and 53 have a width of about 40 mm,
nominal capacitance of 270 Farads. Importantly, however,
                                                                       a height of about 65 mm and a thickness of about 20
the overall weight, ineluding the eleetrolyte and packaging,
                                                                       microns. In this particular embodiment use is made of three
is 295 grams. Utilising these figures, in eombination with a
                                                                       of each of sheets 52 and 53, in that there are six sheets in
measured T〇 of 1 second provides a gravimetric FOM of 2.2
                                                                       total. This provides a total electrode area of 78 cm%
Watts/gram and a volumetric FOM of 1.6 Watts/cm^.                 20
                                                                          Again, layer 62 is substantially uniform across the sheets
When utilising the simple RC model the equivalent series               and has a thickness of about 12 microns.
resistanee is about 1 mQ and the RC time eonstant is about                Package 55 has a rectangular prismatic form made from
280 ms.                                                                PVC sheets and having external dimensions of about 2 mm
                                                                  25   by 54 mm by 86 mm.
                         Example 2                                        Supereapaeitor 81 is rated at 2.5 Volts and provides a
                                                                       nominal capacitance of 0.3 Farads. The overall weight,
   Another specific example of a supereapaeitor 71 made in             ineluding the eleetrolyte and packaging, is 12 grams. Util­
aeeordanee the invention is schematically illustrated in               ising these figures, in eombination with a measured T〇 of
FIGS. 8 and 9. In these Figures corresponding features are        30   0.037 seconds provides a gravimetric FOM of 1.27 Watts/
denoted by eorresponding referenee numerals.                           gram and a volumetric FOM of 1.68 Watts/cm% When
   Each of sheets 52 and 53 have a width of about 40 mm,               utilising the simple RC model the equivalent series resis­
a height of about 40 mm and a thickness of about 20                    tanee is about 22.5 mQ and the RC time eonstant is about 6.3
microns. In this particular embodiment use is made of forty            ms.
of each of sheets 52 and 53, in that there are eighty sheets      35
in total. This provides a total electrode area of 640 cm%                                       Example 5
   In this embodiment layer 62 is again substantially uniform
across the sheets and has a thickness of about 36 microns.                A multiple eharge storage deviee in the form of a super­
   Package 55 has a rectangular prismatic form made from               capacitor 90 is schematically illustrated in FIG. 18. Super­
ABS having external dimensions of about 10 mm by 50 mm            40   capacitor 90 includes a first sheet electrode whieh is eollee-
by 50 mm.                                                              tively defined by aluminium sheets 94 and 96. In other
   Supereapaeitor 71 is rated at 2.5 Volts and provides a              embodiments a single folded sheet is used. It will be
nominal capacitance of 30 Farads. The overall weight,                  appreeiated by those skilled in the art that a single sheet
ineluding the eleetrolyte and packaging, is 25 grams. Util­            eould also be used.
ising these figures, in eombination with a measured T〇 of         45      Both sheets 94 and 96 are eleetrieally connected to a first
0.48 second provides a gravimetric FOM of 2.71 Watts/gram              terminal (not shown). Sheet 94 ineludes a first coating 95 on
and a volumetric FOM of 2.71 Watts/cm°. When utilising                 one side thereof, while the opposite side of sheet 96 ineludes
the simple RC model the equivalent series resistanee is                a second coating 97. The first coating is of a first predeter­
about 4 m 106 and the RC time eonstant is about 120 ms.                mined thiekness and the seeond eoating is of a second
                                                                  50   predetermined thiekness whieh is different from the first
                         Example 3                                     thickness. A seeond sheet eleetrode 98 is eleetrieally con­
                                                                       nected to a second terminal 92 and is disposed adjaeent to
   Another specific example of a supereapaeitor made in                the one side of electrode 94. Also, electrode 98 ineludes a
aeeordanee the invention is of the same eonstmetion of that            third coating 199 on one side thereof of a third predeter­
shown in FIGS. 8 and 9. However, in this embodiment use           55   mined thiekness whieh is equal to the first predetermined
is made of twenty of each of sheets 52 and 53, in that there           thiekness. Coating 199 is opposed to coating 95. A third
are forty sheets in total. This provides a total electrode area        electrode 200 is eleetrieally connected to terminal 92 and is
of 320 cm%                                                             disposed adjaeent to sheet 96. Eleetrode 200 ineludes a
   In this embodiment layer 62 is again substantially uniform          fourth coating 201 on one side thereof which is of a fourth
across the sheets and has a thickness of about 12 microns.        60   predetermined thiekness. Moreover, coating 201 is opposed
   Package 55 has a rectangular prismatic form made from               to coating 97. As with other embodiments, a plurality of
ABS having external dimensions of about 5 mm by 50 mm                  porous separators are disposed between respeetive adjaeent
by 50 mm.                                                              eleetrodes. Additionally, supereapaeitor 90 includes a pack­
   The supereapaeitor of this example is rated at 2.5 Volts            age 91 for containing the eleetrodes, the one or more
and provides a nominal capacitance of 10 Farads. The              65   separators and an electrolyte and through which the termi­
overall weight, ineluding the eleetrolyte and packaging, is            nals extend to allow external electrical connection to the
17 grams. Utilising these figures, in eombination with a               respective electrodes.
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                             25                                                                     26
   All the coatings of this emhodiment utilise the same                where V is the maximum operating voltage of the eapaeitor
formulation. The diflering thieknesses, however, provide               and R is the resistanee determined from the simple RC
supereapaeitor 90 with a multiple time eonstant given that             model of the eapaeitor.
the two capacitive cells making up the supereapaeitor are in              The Pmax values for the examples in FIG. 17 have been
parallel with eaeh other. In this case, a cells are defined by    5    ealeulated and divided, on the one hand by the mass of the
the respective opposed and adjacent carbon coatings.                   respeetive deviees to provide a gravimetric     林 and, on the
   In other embodiments the thieknesses of the eoatings are            other hand, by the volume of the respeetive deviees to
the same and the formulation of the eoating varies between             provide a volumetric           These values have then been
eells to provide a difference in eapaeitanee. This, in turn,           plotted in FIGS. 14 and 15 respectively again time constants.
provides a multiple time eonstant supereapaeitor.                 10      As particularly illustrated FIGS. 12 to 15 inclusive, the
                                                                       supereapaeitors described in the examples above provide
                         Example 6                                     extremely advantageous pulse power load characteristics.
                                                                       That is, a low response time T〇 and time eonstant ensures
   An alternative multiple eharge storage deviee in the form           good transient response to high frequency loads, as are
of supereapaeitor 99 is schematically illustrated in FIG. 19.     15   eneountered in applieations where switehing or pulsing of
This supereapaeitor includes a first sheet electrode 100               the load occurs. This, in combination with the high gravi­
whieh is eleetrieally connected to a first terminal (not               metric FOM and 匕* and the high volumetrie FOM and
shown) and which includes a first coating 102 on one side              P provided in the examples, allow the invention to be
thereof having a first predetermined thiekness. A seeond               applied to a broad range of applications. To illustrate this
sheet eleetrode 103 is eleetrieally connected to a second         20   point, the supereapaeitor of Example 1 is intended primarily
terminal (not shown) and is disposed adjaeent to electrode             for high power automotive applieations to facilitate regen­
100. The seeond electrode ineludes a second coating 106 on             erative breaking and the provision of high torque over short
one side thereof having a second predetermined thiekness.              time periods, and the neeessity for correspondingly high
As shown, coating 106 is opposed to coating 102.                       current loads. The supereapaeitor of Example 4, however, is
                                                                  25   primarily intended to be used in parallel with a mobile
   A porous separator 54 is disposed between the adjaeent
                                                                       telephone battery.
eleetrodes for maintaining those eleetrodes in a fixed spaeed
                                                                          The graphs of FIGS. 12 to 15 each include two unbroken
apart configuration. Additionally, a package 105 contains the
                                                                       lines, whieh extend aeross the upper regions of the ranges
eleetrodes, the separator and an electrolyte, whereby the
                                                                       shown. In each case the lines represent the theoretical upper
terminals (not shown) extend from the paekage to allow
                                                                  30   limit of the various parameters being illustrated for the
external electrical connection to the respective electrodes.
                                                                       examples 3 and 12 shown in FIG. 17. For a given eombi­
   This arrangement of a varying carbon thickness across the           nation of features and the given formulation of the earbon
separate eleetrodes also provides a multiple time eonstant             coating, there will be a theoretical maximum where the
supereapaeitor.                                                        volume or mass contribution of the packaging to the overall
   For convenience, the electrode pair shown in FIG. 19 is        35   device is small. For other formulations the theoretieal maxi­
defined as a cell. In other embodiments, use is made of a              mum will differ.
plurality of like eells staeked together and connected in                 With the benefit of the teaehing herein the skilled
parallel to provide the desired eapaeitanee. Preferably, also,         addressee would appreciate that the invention is also advan­
the eells are staeked sueh that the thinner end and the thieker        tageous in that various parameters of the supereapaeitor are
end of one eell are juxtaposed to the respeetive thieker end      40   easily tailored to meet the speeifie requirements of any
and the thinner end of at least one adjaeent eell.                     particular application. That is, the invention is particularly
   In other embodiments use is made of constructions similar           suited to scaling. By way of example, FIG. 16 shows various
to that of the above examples but with different physieal              calculated characteristics for a number of other embodi­
parameters to provide different eharaeteristies. Some                  ments of the invention. This illustrates that for a given
examples of such alternative physical parameters and result­      45   formulation, thinner layers higher provide higher power
ant characteristics are shown in the Table of FIG. 17 and              densities and figures of merit, as well as lower time eon-
FIG. 2〇. For ease of referenee, FIG. 12 provides a graphical           stants and response times.
representation of the gravimetric FOM versus T〇 for the                   It will be understood that the unbroken lines ineluded in
examples of the invention listed in FIG. 17, where the                 the Figures represent the limit for the two given formula­
respeetive loeations of the supereapaeitors on the referenee      50   tions. However, there are other formulations which provide
plane are represented by numerals corresponding to the item            an extended range of operability and allow higher figures of
number in the Table of FIG. 17. FIG. 13 provides a corre­              merit and power densities, as well as lower time eonstants,
sponding representation for the example supereapaeitors                to be aehieved.
showing volumetric FOM versus T〇.                                         The ealeulations in FIG. 16 are based on the resistanee of
   The supereapaeitor shown as Item 12 in FIG. 17 ineludes        55   the deviees being eomprised of the resistanee of:
a parallel eombination of pairs of capacitive cells that are              1. the terminals;
connected in series. Accordingly, the nominal operational                 2. the aluminium electrodes;
voltage is 5 Volts. In other embodiments more than two                    3. the eleetrode/earbon interface;
capacitive cells are connected in series to provide a higher              4. the earbon inter-particle interface;
operating voltage.                                                60      5. the electrolyte in the earbon layer; and
   It is also useful to characterise the capacitors of the                6. the eleetrolyte in the separator.
present invention with criteria more eommonly used in the                 The present invention makes use of this model to optimise
field. More partieularly, the maximum power              avail­        the various resistances while still providing a high capaci­
able from a supereapaeitor has been ealeulated with the                tance, high figures of merit, high power densities and a
formula:                                                          65   desired response time.
                                                                          The gravimetrie FOM is expected to scale as the gravi­
      %皿=物4R                                                           metric power density, and the volumetrie FOM is expeeted
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                              27                                                                     28
to scale as the volumetric power density. These latter quan­            against the opposed eleetrodes. The porous nature of the
tities are proportional to: V% 1/R and either 1/mass or                 separator allows the movement of ions in the eleetrolyte
lA^lume. Thus, for a given voltage optimised for the                    between the eleetrodes.
applieation, an increase in FOM eomes through decreasing                   Eaeh electrode is formed from a single like aluminium
R, decreasing mass and decreasing volume. For a given              5    sheet having at least one tab 309 which is eleetrieally
formulation and given thiekness of coating R is essentially             engaged with the respeetive terminals 305 and 306. The
proportional to the inverse of the eleetrode area. For minimal          eleetrodes are folded into the overlapping and nested eon-
packaging mass or volume, the mass and volume are pro­                  figuration shown in the drawing. Again, it will be appreei­
portional to the eleetrode area. Thus making a "bigger"                 ated that for ease of illustration electrode 304 is shown with
device will only marginally increase the FOM due to less           10   two fold lines. In praetiee, however, a single fold is made as
paekaging. Hence, for a given size of device, the resistance            this electrode is abutted direetly against separator 307.
is minimised by decreasing the thickness of the eoating                    Electrode 303 is reeeived within opening 308 and envel­
consistent with the time eonstant or response time desired              oped by separator 307 such that only tab 309 extends from
for the deviee. The eapaeitanee of the deviee is then deter­            the "pocket" or pouch. This electrode and separator combi­
mined by the seleetion of the mix of carbons and the               15   nation is then inserted into the folded eleetrode 304 to
formulation of the eoating material.                                    complete a single eapaeitive cell. While in this embodiment
    The inventors also believe that the superior performance            only a single eell is illustrated, in other embodiments use is
of supercapacitors of the present invention is contributed to           made of two or more sueh eells. The eleetrode area of the
by the improved eonduetivity between individual carbon                  eleetrodes is about 102 cm^ which provides a nominal
particles resulting from the use of the mixture of carbon          20   capacitance of about 28 Farads at 2.5 Volts.
particles and protonated earboxy methyl eellulose (CMC).                   Each of electrodes 303 and 304 includes a high surface
Without wishing to be bound by theory, it is believed that              area coating 310 of activated carbon. This coating is of a
such improved eonduetivity is the result of a number of                 predetermined thiekness and includes a binder to facilitate
factors such as increased packing density of individual                 intimate engagement between the carbon and the eleetrodes.
carbon particles; increased migration of electrolyte into          25      As terminals 305 and 306 extend from the inside to the
intra-molecular spaces on the surfaee of the individual                 outside of housing 302 they are sealingly engaged interme­
carbon particles; and an overall reduction in the size of the           diate their respective ends with the housing. In this embodi­
interfaee region between the earbon particles and electro­              ment the sealing engagement is efleeted by two rubber
lyte. It is believed that a mixture of high surface area carbon         grommets 311 and 312. In other embodiments use is made
and highly conductive carbon optimises these effeets.              30   of grommets eonstmeted from other materials or combina­
    Further, the relative insolubility of protonated CMC eon-           tions of materials. For example, some deviees make use of
tributes to an increased overall life of the supereapaeitors of         silicon sealing compounds and adhesives.
the present invention.                                                     Eleetrode 303 and 304 will now be deseribed in more
    It will be appreeiated that the term "immersed" or like             detail with reference to FIGS. 22 to 24. More partieularly,
terms, unless explieitly noted otherwise, when used in             35   and as best shown in FIG. 23, electrode 303 is substantially
referenee to the disposition of the eleetrodes in the eleetro-          rectangular and includes two rectangular sub-sheets 315 and
lyte is intended to include not only those supereapaeitors              316. fhe sub-sheets are integrally formed and symmetrical
where an excess of electrolyte is used, but also those where            about a fold line 317 which defines a common edge 318.
the quantity of electrolyte is suffieient to only wet the               Sheets 315 and 316 include respeetive integrally formed
eleetrodes. That is, the quantity of electrolyte need be           40   reetangular sub-tabs 319 and 320 which, as shown in FIG.
suffieient to allow operation of the supereapaeitor.                    24, abut to collectively define tab 309.
    It will also be appreeiated that although the above                    Sheet 315 includes two spaced apart and parallel edges
examples are primarily concerned with discrete eells, the               321 and 322 which extend away normally from edge 318. A
invention is also applicable to bipolar configurations.                 further edge 323 extends between edges 321 and 322. As
                                                                   45   also shown in FIG. 23, tab 319 extends from away from edge
    Moreover, it will be appreeiated that the term "organic
                                                                        323 adjaeent to where that edge meets with edge 322.
eleetrolyte" or like terms refer to an electrolyte in an organic
                                                                        Similarly, sheet 316 ineludes two spaced apart and parallel
solvent.
                                                                        edges 325 and 326 which extend away normally from edge
    For comparative purposes FIG. 17 provides a Table                   318. A further edge 327 extends between edges 325 and 326.
showing parameters of supereapaeitors of the present inven­        50   Similarly also, tab 320 extends from away from edge 327
tion as well as some prior art supereapaeitors.                         adjaeent to where that edge meets with edge 326.
    Referring to FIG. 21, a charge storage device 301 includes             Eleetrode 303 is eoated on one side only with the aeti-
a sealed prismatic housing 302. Two opposed folded reet-                vated carbon and then folded about line 317 sueh that the
angular aluminium electrodes 303 and 304 are disposed                   eoated side is outwardly facing, as shown in FIG. 21.
within housing 302 and connected to respective metal ter­          55      Electrode 304 is the same as electrode 303 only that it is
minals 305 and 306 for allowing external electrical connec­             interleaved in the opposite sense so that the respeetive tabs
tion to the electrodes. A Solupor™ sheet separator 307 is               309 are spaeed apart. This wifi be deseribed in further detail
disposed intermediate eleetrodes 303 and 304 for maintain­              below. For convenience, corresponding features of the elee­
ing those eleetrodes in a fixed spaeed apart configuration. An          trodes wifi be designated with eorresponding referenee
electrolyte (not shown) is also disposed intermediate the          60   numerals.
eleetrodes.                                                                Separator 307 is shown, not to scale, in plan in FIG. 22
    Separator 307 is formed in a "pocket" eonfiguration,                and includes two rectangular sub-sheets 331 and 332 which
wherein it is folded baek upon itself and the transverse ends           are integrally formed along a common edge 333. This edge
seeured together for providing an opening 308 between the               also defines a fold line 334. Sheet 331 also includes two
transverse ends. For ease of illustration, separator 307 is        65   spaced apart and parallel edges 335 and 336 which extend
shown as having two fold lines. In praetiee, however, a                 away normally from edge 333. A free edge 337 extends
single Ibid line is used as the separator is abutted direetly           between edges 335 and 336. Similarly, sheet 332 ineludes
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                              29                                                                     30
two spaced apart and parallel edges 339 and 340 which                   examples shown in FIGS. 17 and 20 the respeetive earbon
extend away normally from edge 333. A free edge 341                     coating thicknesses are specified. With the exception of the
extends between edges 339 and 34〇.                                      6 mieron eoating, the earbon particle diameter is a nominal
   During mannfactnre, electrode 303 is folded about line               6 to 8 microns. However, for the 6 mieron coating use is
317 sueh that the eoated sides of sheets 315 and 316 are           5    made of similar size partieles that are ground to a nominal
opposed and outwardly facing. Additionally, tabs 319 and                diameter of 2 microns. In embodiments where use is made
320 are abutted. Separately, separator 307 is folded about              of smaller nominal diameter carbons, the coatings are thin­
line 334 sueh that edges 335 and 339 are parallel and abutted           ner again.
together, edges 336 and 340 are parallel abutted together and              The eonventional wisdom has been to utilise relatively
edges 337 and 341 are parallel and adjacent to one another.        10   thiek earbon coatings to provide a greater capacitance per
Thereafter, edges 335 and 339 are joined together and edges             unit volume. Such coatings are in the order of about 150
336 and 340 are joined together. In some embodiments this               microns or greater. However, it has been diseovered that
is aehieved with adhesive, while in other embodiments heat              thinner coatings, as used in the deseribed embodiments,
welding or other heat treatment is utilised. In still further           allows a reduced esr as the length of the eurrent path through
embodiments the edges are not joined.                              15   the earbon coating is small. The thin eoatings also have a
   As best illustrated in FIG. 24, eleetrode 303 is then nested         positive eontribution to a high FOM's as they oeeupy less
within the "pouch" or "pocket" formed by separator 307. As              volume than the thieker eoatings employed in prior art
shown, the separator envelopes substantially all of electrode           devices. Surprisingly, however, the deviees aeeording to the
303 and, as will be deseribed below, maintains electrodes               preferred embodiments of the invention still provide rela­
303 and 304 in a spaced apart configuration. Tab 309 extends       20   tively high eapaeitanee as the available surfaee area remains
outwardly beyond adjacent edges 337 and 341 to allow its                relatively high due to the use of an activated carbon and a
electrical connection to terminal 305. For ease of illustra­            protonated binder.
tion, in FIG. 24 the separator 307 is shown with edges 336                 While not wishing to be limited by theory, it is presently
and 340 joined by way of heat welding, while edges 335 and              understood, when thinner coatings are used, that another
339 are adjaeent, although not yet joined.                         25   mechanism comes into play. More particularly, the activated
   Eleetrode 304 is then formed by folding a like eoated                carbon used in the preferred embodiments results in inter-
sheet to that which forms electrode 303. More partieularly,             partiele voids in the earbon coating. These voids are typi-
the fold is made along fold line 318 sueh that that the eoated          eally labrinthine in character. For prior art coatings having
sides of sheets 315 and 316 are opposed sad inwardly facing.            a thickness which is significantly greater than the carbon
Additionally, tabs 319 and 320 are adjacent to each other and      30   particle size, the impedance of the eoating is high. However,
opposed. The assembly of FIG. 24 is then nested within                  for the eoatings of the preferred embodiments, where the
eleetrode 304, as best illustrated in FIG. 25, sueh that the            eoating thickness is the same order of magnitude as the
respeetive tabs 309 of the eleetrodes are spaeed apart. Tabs            earbon particle size, the effect of the interpartiele voids is
319 and 320 of electrode 304 are then abutted and secured               minimal on the impedanee. That is, it has been diseovered
to terminal 306 to allow external electrical connection with       35   that there is a strong relationship between the size of the
the electrode.                                                          aetive carbon particle, the thickness of the earbon layer and
   The eleetrode assembly of FIG. 25 is referred to as s                the resultant impedance provided by that layer.
single eell and, as would be appreeiated by a skilled                      Preferred embodiments of the invention make use of
addressee from the teaehing herein, a plurality of the eells            thinner carbon coatings to take advantage of this relationship
are able to be eonneeted in parallel to proportionally             40   and thereby aehieve greater capacitances per unit volume,
increase the capacitance of supercapacitor 301. In other                and hence high FOM'S.
embodiments, a plurality of the eells are staeked in parallel              The volume and mass measurements for determining
sueh that the respeetive tabs 309 for like eleetrodes 303 and           FOM's take into account the paekaging in which the elee­
304 form two spaced apart stacks of like tabs. The tabs in              trodes, the separator and electrolyte are eontained. The high
each staek are then elamped together and the stacks eleetri-       45   FOM's aehievable with the deseribed embodiments of the
eally connected to respective terminals 305 and 306.                    invention are also contributed to by the paekaging itself and
   The preferred embodiments of the invention use a non­                the eompaet method of disposing the separate eomponents
aqueous electrolyte to achieve high energy densities. Sur­              within the paekaging.
prisingly, however, they are also able to achieve high power               For the larger supercapacitors constructed in accordance
densities and FOM's in spite of the eonventional wisdom to         50   with the invention it is known to use heavier and bulkier
the eontrary for this type of electrolyte. This result is               packaging than is absolutely necessary and still achieve
aehieved in the preferred embodiments through a concerted               relatively high FOM's. For example, in eases where it is
effort to reduce the overall resistance of the supereapaeitor.          desirable to have highly robust packaging for operation in
The use of the following foatures contribute to this result:            hostile environments some eompromise in FOM is tolerated.
   a thin highly porous separator to minimise the length of        55   However, for these larger devices, the relatively high FOM's
      the eurrent path, and hence the resistanee, offered by            are still possible due to the packaging contributing propor­
      the eleetrolyte;                                                  tionally less to the overall volume or weight of the deviee.
   thin layers of high surface area carbon (less than about                For some of the smaller devices, the high FOM's are
      100 microns thick) for providing a short current path             aehieved, in part, through use of flexible multi-layer plastics
      through the earbon to the aluminium electrode while          60   paekaging. Examples of such packing are disclosed in the
      still providing a high capacitance per unit volume;               eo-pending International Patent Application no. PCT/AU99/
   a blend of carbons including conductive carbon black for             00780 in the name of the present applieants. The diselosure
      improving the eonduetivity of the earbon layer; and               within that PCT application is incorporated herein by way of
   an electrolyte including a high concentration of salt (in the        cross reference.
      order of 1.0 Molar).                                         65      Although the invention has been deseribed with referenee
   In some embodiments the thiekness of each carbon coat­               to specific examples it will be appreciated by those skilled
ing, including the binder, is less than 100 microns. For the            in the art that it may be embodied in many other forms.
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                             31                                                                    32
   The invention elaimed is:                                           and a second carbon coating respectively wherein the sur­
   1. A eharge storage deviee eomprising:                              face area of carbon used in the eoatings is greater than 20
   a first electrode;                                                  m^/gram.
   a second electrode being opposed to and spaced apart                   7. A device aeeording to claim 1 wherein the first elec­
      from the first electrode;                                   5    trode ineludes a first substrate and a first carbon layer
   a porous separator disposed between the eleetrodes;                 supported by the first substrate, and the seeond electrode
   a sealed paekage for containing the electrodes, the sepa­           ineludes a second substrate and a second carbon layer
      rator and an electrolyte in whieh the eleetrodes are             supported by the seeond substrate, wherein the first and
      immersed; and                                                    second carbon layers are opposed and includes a surface
      a first terminal and a second terminal being eleetrieally   10   area of at least 400 m^/gram and the gravimetrie FOM of the
         connected to the first electrode and the second elee-         deviee is greater than about 1 Watts/gram.
         trode respeetively and both extending from the paek­             8. A device according to claim 7 wherein the surface area
         age to allow external electrical connection to the            of the earbon layers are at least 1200 m^/gram.
         respective electrodes, wherein the gravimetrie FOM               9. A device aeeording to claim 8 wherein at least one of
         of the deviee is greater than abont 2.1 Watts/gram.      15   the earbon layers contains more than one type of carbon.
   2. A device aeeording to claim 1 including a gravimetric               10. A device according to claim 9 wherein the carbon
FOM in one of the following ranges:                                    layers are a mixture of partieles of high surface area carbon
   about 2.5 Watts/gram to 3 Watts/gram; or                            and highly conductive carbon in a ratio of about 2.5:1
   about 3 Watts/gram to 3.5 Watts/gram; or                            combined with a suspension of carboxy methyl eellulose
   about 3.5 Watts/gram to 5 Watts/gram; or                       20   （CMC）.
   greater than about 5 Watts/gram.                                       11. A deviee aeeording to claim 1 wherein the maximum
   3. A device according to claim 1 wherein the first elec­            operating voltage of the deviee is less than about 4 Volts.
trode and the seeond eleetrode form a capacitive cell and the             12. A device according to claim 11 wherein the maximum
device includes a plurality of like cells disposed within the          operating voltage of the deviee is less than about 3.5 Volts.
paekage, eaeh cell being eleetrieally connected in parallel       25
                                                                          13. A device according to claim 12 wherein the maximum
with at least one other cell in the package.                           operating voltage of the deviee is less than about 3 Volts.
   4. A device according to claim 1 wherein the first elec­
                                                                          14. A device according to claim 1 wherein the response
trode and the seeond electrode form a capacitive cell and the
                                                                       time （T〇） of the deviee is less than about 0.09 seconds.
device includes a plurality of like eells disposed within the
                                                                          15. A device according to claim 14 wherein the response
paekage, eaeh eell being eleetrieally connected in series with    30
at least one other cell in the package.                                time （T〇） of the deviee is less than about lO"^ seconds.
   5. A device according to claim 1 wherein the first elec­               16. A device according to claim 15 wherein the response
trode and the seeond electrode form a capacitive cell and the          time （T〇） of the deviee is less than about 10~^ seconds.
device includes a plurality of like eells disposed within the             17. A device according to claim 16 wherein the response
paekage, eaeh eell being eleetrieally connected with at least     35   time （T〇） of the deviee is less than about ICL seconds.
one other cell in the package, wherein the connects are a                 18. A device according to claim 17 wherein the response
combination of parallel and series eonneets.                           time （T〇） of the deviee is less than about 5xl〇~^ seconds.
   6. A deviee aeeording to claim 1 wherein the first elec­
trode and the seeond electrode inelude a first carbon coating
